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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

UNITED sTATES 0F AMERlCA,
STATE 0F CALIFORNIA, STATE OF
DELAWARE, DISTRlCT 0F
COLUMBIA, sTATE 0F FLORIDA,
sTATE 0F HAWAII, sTATE 0F
ILLINols, STATE 0F LOUISIANA,
cOMMONWEALTH 0F
MASSACHUSETTS, sTATE 0F
NEVADA, sTATE 0F TENNESSEE,
sTATE 0F TEXAS,
COMMONWEALTH 0F vIRGINIA,
sTATE OF GEORGIA, STATE 0F
INDIANA, sTATE 0F MICHIGAN,
STATE 0F MONTANA, sTATE OF
NEW HAMPSHIRE, sTATE 0F NEW
MEXICO, STATE 0F NEW YORK,
STATE 0F NEW JERSEY, sTATE 0F
OKLAHOMA, STATE 0F RHODE
ISLAND, sTATE 0F WISCONSIN,
sTATE 0F CONNECTICUT, sTATE 0F
MINNESOTA, sTATE 0F NORTH
CAROLINA, sTATE OF MARYLAND,
STATE 0F COLORADO, CITY 0F
NEW YORK, CITY 0F CHICAGO, EX
REL. PAUL DiMATTIA AND F.
FOLGER TUGGLE
Plaintiffs,
V.

ASTRAZENECA LP
ASTRAZENECA PHARMACEUTICALS
LP

Defendants.

CIVIL ACTION NO. 53 __ 9

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AND U ER SEAL

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COMPLAINT FOR DAMAGES AND OTHER RELIEF UNDER
THE QUI TAM PROVISIONS OF THE FEDERAL FALSE CLAIMS ACT AND
SIMILAR STATE PROVISIONS

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1. Plaintiff/Relators Paul DiMattia (“Relator DiMattia”) and F. Folger Tuggle
(“Relator Tuggle”) (“Relators”) bring this action to recover treble damages and civil penalties on
behalf of the United States of America under the False Claims Act, 31 U.S.C. §§ 3729-33, and
the individual states and cities named herein arising from Defendants AstraZeneca LP’s and
AstraZeneca Pharmaceuticals LP’s (collectively “AstraZeneca” or “AZ”) scheme to defraud and
conspire to defraud the United States and the states and local governments (hereinafter
collectively the “Government Plaintiffs”) by causing the filing of false claims to be presented
under the Medicare, Medicaid, TRICARE and other federally-funded government health care
programs (collectively “Government Health Care Programs”).

2. Relators DiMattia and Tuggle were longtime executive employees of AZ as set
forth below. They have firsthand knowledge of: (l) AZ’s payment of illegal financial
inducements in the hundreds of millions of dollars to Medco Health Solutions, Inc. (“Medco”),
in order to obtain favorable positioning of AZ’s drug, Nexium, on Medco’s formulary, and its
promotion and purchase of Nexium (a Proton Pump Inhibitor - heartburn medication); (2) AZ’s
fraudulent conduct in circumventing its best price obligations as applied to Federal and State
government purchasers and reimbursers in connection with Nexium, with the knowledge that
said conduct would result in the submission of significant false claims; and (3) AZ’s resultant
conduct in violation of AZ’s Corporate Integrity Agreement (“CIA”), effective in June 2003
through June 2008.

3. AstraZeneca embarked on this course of unlawful conduct knowing it would lead
to the Submission of substantial and myriad false claims for Nexium by participating
pharmaceutical providers to~Government Health Care Programs, when by law these claims were

not reimbursable and would not have been reimbursed by the Government Health Care Programs

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if the Government Plaintiffs had known the truth about AstraZeneca’s illegal scheme and
significant kickbacks paid in violation of the federal anti-kickback statute, 42 U.S.C. § 1320a-
7b(b,) and in circumvention of its best price obligations

4. Relator Tuggle also asserts respective claims on his own behalf for unlawful
retaliation and seeks appropriate statutory penalties and relief under the False Claims Act and
applicable Delaware law. Relator Tuggle was terminated from his position at AZ on pretext
following his objection to AZ’s unlawful marketing practices. Seeing no other recourse, Relator
has brought AZ’s wrongdoing to the attention of the Government Plaintiffs.

I. JURISDICTION AND VENUE

5. These claims arise under the Quz' Tam provisions of the False Claims Act, 31
U.S.C. § 3729, et. seq. (“FCA”), and under the federal anti-kickback statute, 42 U.S.C. § 13209-
7b(b). This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C.

§ 1331 and 31 U.S.C. § 3732 which specifically confer jurisdiction on this Court for actions
brought pursuant to 31 U.S.C. §§ 3729 & 3730, and under 28 U.S.C. 1367(a).

6. Personal jurisdiction and venue for this action are predicated on 31 U.S.C.

§ 3732(a) which provides: “any action brought under § 3730 may be brought in any judicial
district in which the defendant, or in the case of multiple defendants any one defendant, can be
found, resides, transacts business or in which any act proscribed by § 3729 occurred.”
Defendants AstraZeneca LP and AstraZeneca Pharmaceuticals, LLP have their principal places
of business in Delaware and transact substantial business in the District of Delaware.

7. This Court also has supplemental jurisdiction over the claims brought pursuant to
the California, Delaware, District of Columbia, Florida, Hawaii, lllinois, Louisiana,
Massachusetts, Nevada, Tennessee, Texas, Virginia, Georgia, Indiana, Michigan, Montana, New
Hampshire, New Mexico, New York, New Jersey, Oklahoma, Rhode lsland, Wisconsin,

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Connecticut, Minnesota, North Carolina, Maryland, Colorado, Chicago and New York City Quz`
T am statutes pursuant to 28 U.S.C. § 1367 which provides that “in any civil action of which the
district courts have original jurisdiction, the district courts shall have supplemental jurisdiction
over all other claims that are so related to claims in the action within such original jurisdiction
that they form part of the same case or controversy under Article 111 of the United States
Constitution.”

8. The causes of action alleged herein are timely brought. Moreover, efforts by AZ
to conceal its wrongdoing from the United States in connection with the allegations made herein,
occurred during all times relevant hereto, were ongoing, and continue to the present.

9. Under the FCA, this Complaint is to be filed in camera and remain under Seal for
a period of at least 60 days and shall not be served on the defendant until the Court so orders.
The government may elect to intervene and proceed with the action within 60 days after it
receives both the Complaint and the material evidence and information

II. PARTIES

10. Relator DiMattia is a citizen and resident of the Commonwealth of Pennsylvania.
He has held sales supervisory and executive commercial positions at AZ since 1988, and has
been an employee of AZ or its predecessors for twenty-five years. At the time of his departure
from AZ in 2009, he was AZ’s Executive Director of Commercial Operations. Relator DiMattia
brings this action on behalf of the United States of America and the states and local governments
referenced herein.

11. Relator Tuggle is a citizen and resident of the state of Vermont. He has held
executive sales or managed markets account positions at AZ since 1999, and has been an
employee of AZ or its predecessors for fourteen years. At the time of AZ’s retaliation

termination of Mr. Tuggle in 2009, he was AZ’s Managed Markets Account Director - - Medco.

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Relator Tuggle brings this action on behalf of the United States of America and the states and
local governments referenced herein, Relator also asserts retaliation and related state-law claims
on his own behalf.

12. Relators bring this action based on their direct knowledge. None of the actionable
allegations set forth in this Complaint are based on a public disclosure as set forth in 31 U.S.C.

§ 3730(e)(4). Notwithstanding same, each Relator is an original source of the facts alleged in
this Complaint. As former highly placed AstraZeneca employees, each has direct and
independent knowledge of the information regarding the allegations in this Complaint.

13. Relators have personal knowledge of AZ’s corporate endorsement of its national
illegal scheme.

14. Simultaneously with the filing of this Complaint, as required under the FCA, the
Relators have provided to the Attorney General of the United States, the United States Attorney
for the District of Delaware and the State Attorneys General of the states identified in this
Complaint, a statement of all material evidence and information related to this Complaint. This
disclosure statement supports the existence of false claims by AstraZeneca in the Government
Health Care Programs.

15. Defendants AstraZeneca LP and AstraZeneca Pharmaceuticals LP are Delaware
limited partnerships with their principal place of business in Wilmington, Delaware. At all
relevant times herein, AstraZeneca distributed, marketed and sold pharmaceutical products in the
United States, including drugs sold under the trade names Nexium, Prilosec, Toprol XL and
Plendil.

16. At all times relevant hereto, AstraZeneca acted through its agents and employees,

and the acts of AstraZeneca’s agents and employees were within the scope of their agency and

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employment. The policies and practices alleged in this Complaint were, on information and
belief, established and/or ratified at the highest corporate levels of AstraZeneca.

III. INTRODUCTION

A. Am)licable Legal Framework
1. The False Claims Act

17. The FCA imposes liability upon any person who “knowingly presents or causes to
be presented [to the Government] a false or fraudulent claim for payment or approval”; or
“knowingly makes, uses, causes to be made or used, a false record or statement material to an
obligation to pay or transmit money or property to the Government, or knowingly conceals or
knowingly and improperly avoids or decreases an obligation to pay or transmit money or
property to the Government.” 31 U.S.C. § 3729(a)(1)(A), (B), (G).

18. The FCA imposes liability not only for intentionally false or fraudulent conduct
but also where the conduct is merely “in reckless disregard of the truth or falsity of the
information.” 31 U.S.C. § 3729(B)(1).

19. The FCA broadly defines a “claim” as one that includes “any request or demand,
whether under a contract or otherwise, for money or property. . .that. . .is made to a contractor,
grantee or other recipient, if the money or property is to be spent or used on the Government’s
behalf or to advance a Government program or interest, if the United States Government_-(i)
provides or has provided any portion of the money or property requested or demanded; or (ii)
will reimburse any portion of the money or property requested or demanded.” 31 U.S.C.

§ 3729(b)(2)(A),
20. A pharmaceutical company is liable under the FCA and the analogous state

statutes, where, as here, its unlawful promotional practices and representations cause or mislead

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healthcare providers into prescribing a drug and submitting reimbursement claims for
prescriptions to the Government Health Care Programs.

2. Government Health Care Programs

21. Medicare is a government financial health insurance program administered by the
Social Security Administration of the United States. Medicare was promulgated to provide
payment for medical services, durable medical equipment and other related health items for
individuals 65 and over. Medicare also makes payment for certain health services provided to
additional classes of certain individual healthcare patients pursuant to federal regulations

22. The federal government enacted the Medicaid program in 1965 as a cooperative
undertaking between the federal and state governments to help the states provide health care to
low-income individuals 42 U.S.C. §§ 1396-1396v. The Medicaid program pays for services
pursuant to plans developed by the states and approved by the U.S. Department of Health and
Human Services (“HHS”) Secretary through the Center for Medicare and Medicaid Services
(“CMS”). States pay doctors, hospitals, pharmacies, and other providers and suppliers of
medical items and services according to established rates. See 42 U.S.C. §§ 1396b(a)(l),
1903(a)(1). The federal government then pays each state a statutorily established share of “the
total amount expended as medical assistance under the State plan .._” See 42 U.S.C.
§ 1396b(a)(l). This federal-to-state payment is known as federal financial participation (“FFP”).

23. TRICARE is the component agency of the U.S. Department of Defense that
administers and supervises thehealth care program for certain military personnel and their
dependents TRICARE contracts with a fiscal intermediary that receives, adjudicates, processes
and pays health care claims submitted to it by TRICARE beneficiaries or providers. The funds

used to pay the TRICARE claims are federal government funds.

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24. ln addition to Medicare, Medicaid and TRICARE, the federal government also
reimburses for the cost of prescription drugs under several other Government Health Care
Programs, including the Railroad Retirement Medicare Program, the Federal Employee Health
Benefit Plans, the Veterans Administration, the lndian Health Service and State Legal lmmigrant
Assistance Grants.

3. The Anti-Kickback Act

25. The federal anti-kickback statute, 42 U.S.C. § 1320a-7b(b), arose out of
congressional concern that remuneration given to those who can influence healthcare decisions
would result in goods and services being provided that are medically unnecessary, of poor
quality, or even harmful to a vulnerable patient population. To protect the integrity of the
Medicare and Medicaid programs from these harms, Congress enacted a prohibition against the
payment of kickbacks in any form. First enacted in 1972, Congress strengthened the statute in
1977 and 1987 to ensure that kickbacks masquerading as legitimate transactions did not evade its
reach. See Social Security Amendments of 1972, Pub. L. No. 92-603, §§ 242(b) and (c); 42
U.S.C. § l320a-7b, Medicare-Medicaid Antifraud and Abuse Amendments, Pub. L. No. 95-142;
Medicare and Medicaid Patient and Program Protection Act of 1987, Pub. L. No. 100-93.

26. The ami-kickback statute prohibits any person or entity from knowingly and
willfully offering, making, soliciting, or accepting remuneration, in cash or in kind, directly or
indirectly, to induce or reward any person for purchasing, ordering, or recommending or
arranging for the purchasing or ordering of federally-reimbursable medical goods or services:

[W]hoever knowingly and willfully offers or pays any remuneration (including

any kickback, bribe, or rebate) directly or indirectly, overtly or covertly, in cash

or in kind to any person to induce such person_

(A) to refer an individual to a person for the furnishing or arranging for the

furnishing of any item or service for which payment may be made in
whole or in part under a Federal health care program, or

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(B) to purchase, lease, order, or arrange for or recommend purchasing
leasing, or ordering any good, facility service, or item for which payment
may be made in whole or in part under a Federal health care program,
shall be guilty of a felony and upon conviction thereof, shall be fined not
more than $25,000 or imprisoned for not more than five years, or both.

42 U.S.C. § 1320a-7b(b)(2) (emphasis added). Violation of the statute also can subject the
perpetrator to exclusion from participation in federal health care programs and, effective August
6, 1997, civil monetary penalties of $50,000 per violation and three times the amount of
remuneration paid. 42 U.S.C. § 1320a-7(b)(7) and 42 U.S.C. § 1320a-7a(a)(7).

27. The government has deemed such misconduct material to its decision to pay
health care claims, in part through its requirement that providers certify compliance with this law
as a condition of payment under, and participation in, Government Health Care Programs. lf the
Government Plaintiffs had been aware that AstraZeneca drugs, including Nexium, were
prescribed as a result of such prohibited conduct, the Government Plaintiffs would not have paid
the claims submitted as a result of AstraZeneca’s wrongdoing

28. Congress enacted the Medicaid Drug Rebate Statute, 42 U.S.C. § 1396r-8, to
ensure that the Medicaid program would receive the benefit of the same discounts and prices on
drugs that other large public and private purchasers enjoyed. See H.R. Rep. No. 101 -881, at 96
(1990), reprinted in 1990 U.S.C.C.A.N. 2017, 2108, Under the Medicaid Drug Rebate Statute,
in order for a brand name drug, such as Nexium, to be covered and reimbursed by the Medicaid
program, its manufacturer has two primary obligations First, the manufacturer must report on a
quarterly basis to the Secretary of the Department of Health and Human Services (“HHS”) the
drug’s “average manufacturer price” and the “best price” offered for that drug. 42 U.S.C.

§ 1396r-8(b)(3)(A). Second, the manufacturer must pay each state a quarterly rebate equal to the

total number of drug units (e. g., pills) purchased by the state times the greater of (1) 15.1 percent

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of the drug’s average manufacturer price, or (2) the difference between the average manufacturer
price and the best price. 42 U.S.C. §1396r-8(c)(1)(A).
4. Formularies and Formularv Placement

29. A defining characteristic of the market for FDA-approved pharmaceutical
products in the United States is the manner in which manufacturers are paid for and promote
their products; in particular, the market is enormously influenced by the actions, methods,
procedures, and decisions of the so-called “payors,” including most prominently: (a) pharmacy
benefit managers (“PBMs”); (b) insurance companies; (c) managed-care companies (Hl\/IOs);
and (d) self-insured companies

30. More than 200 million Americans have insurance coverage that includes a
pharmacy benefit. This pharmacy benefit is usually managed by a PBM, a business which
specializes in administrating the patient’s pharmacy benefit in return for payment by the client
(usually either an employer, a health plan, a government agency, or a union).

31. One information and belief, Medco is the largest PBM in the United States At all
times relevant to this Complaint, Medco was AZ’s largest commercial purchaser of AZ drugs,
including Nexium.

32. A formulary is a list of FDA-approved prescription drug medications created to
assist in maintaining the quality of patient care and containing costs for the patient’s drug benefit
plan. Prescribers are requested to refer to the formulary when selecting prescription drug therapy
for plan members Payors provide copies of their formularies to doctors, patients and
pharmacists in their network to aid prescribers’ adherence to the formulary.

33. lt is universally recognized that being included in the various payor formularies,

and obtaining favorable placement of a drug within a formulary (e.g., “Tier-2” placement),

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drives demand for that drug within the payor’s/PBM’s entire network of physicians, pharmacists,
and participating plans

34. As set forth in this Complaint, AZ paid hundreds of millions of dollars in
inducements and kickbacks to Medco over the relevant period to obtain favorable formulary
position, recommendation, and purchase of Nexium.

35. This action is also brought to recover treble damages and civil penalties against
AZ for causing Medco and its network physicians, pharmacists and plans to submit false claims
to Medicaid and other Government Health Care Programs as a result of the illegal inducements
and kickbacks that AZ paid to Medco in violation of the federal anti-kickback statute, during the
period from 2004 to the present.

36. lgnoring its aforementioned legal obligations, AZ never reported the substantial
sums paid in illegal inducements to Medco to secure a favorable formulary position for Nexium,
as discounts or rebates subject “best price,” which would have significantly undercut Nexium’s
profitability.

37. The illegal inducements/discounts and rebates AZ provided Medco were subject
to “best price” reporting requirements

38. AZ’s intentional circumvention and misreporting of its Nexium best price was
intended by AZ to deprive, and fraudulently did deprive the federal government and states of
discounts and/or reimbursement in the hundreds of millions of dollars or more over the relevant
period.

39. As set forth in this Complaint, this kickback/best price circumvention scheme was
put in place at the highest levels of AZ, and by individuals who presently serve as President of

AZ, United States; and the President of AZ, Canada, respectively.

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40. At all times relevant hereto, Defendant AZ has presented, conspired or knowingly
caused to be presented, false claims seeking reimbursement for Nexium from Government
Health Care Programs at prices other than the “best price” required by statute.

41. At all times relevant hereto, AZ evaded its obligations under the best price statute
in presenting, or causing to be presented, false claims to Government Health Care Programs for
reimbursement, by fraudulently disguising rebates and discounts on Nexium, as value-added, in-
kind discounts on other drugs `

42. At all times relevant hereto, AZ knowingly and by its reclassification of its illegal
“inducement” payments significantly underpaid rebates to Government Health Care Programs
for Nexium. Nexium sales in the United States during the relevant period are approximately $21
Billion.

43. AZ and its employees understood that it was a violation of the anti-kickback
statute to offer or to pay remuneration, by whatever means, to induce Medco to purchase and/or
to recommend or promote the prescription or use of Nexium.

44. AZ and its employees understood that it was a violation of law to pay said
remuneration as a substitute for discounts or rebates that, if disclosed, would increase AZ’s
financial obligations to Government Health Care Programs.

45. These illegal practices regarding the manipulation of formularies and with it,
patient drug recommendations and selection, were based on economic considerations and the

enrichment of AZ, rather than on efficacy and patient welfare.

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B. Factual Overview

1. AZ’s Criminal Guiltv Plea and Civil Settlement
In Connection With Its Illegal Marketing of Zoladex

46. On June 20, 2003, AZ pled guilty to the crime of conspiring to violate the
Prescription Drug Marketing Act in connection with its illegal marketing of its drug Zoladex.

47. As admitted in the guilty plea, AZ’s criminal conduct caused losses of
approximately $40 Million ($40,000,000) to Medicare, Medicaid and other federally funded
insurance programs As part of the plea agreement, AZ agreed to pay a fine of approximately
364 Million (364,000,000).

48. At the same time, AstraZeneca entered into a civil settlement agreement with the
federal government in the additional amount of $266 Million ($266,000,000), in settlement of the
government’s allegations that over a twelve year period, i.e., from January 1991 through

December 31, 2002, AstraZeneca engaged in conduct involving the illegal marketing, sale, and

pricing of its drug Zoladex, including as follows:

* * *

(v) AstraZeneca misreported and underpaid its Medicaid
rebates for Zoladex used for treatment of prostate cancer, i.e., the
amounts that it owed to the states under the federal Medicaid
Rebate Program. . . . AstraZ eneca falsely reported the Best Price
for Zoladex used for treatment of prostate cancer because
AstraZeneca calculated its Best Prices for Zoladex without
accounting for off-invoice price concessions provided in various
forms including cash discounts in the form of grants, services
and free goods contingent on any purchase requirement
(emphasis added)

49. A condition of AZ’s settlement of government claims and charges was that it
enter a “Corporate Integrity Agreement” (“CIA”) with the Office of lnspector General of HHS.
The five year term of the CIA ran from its effective date of June 4, 2003, through to its
expiration date of June 4, 2008.

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50. A critical term of that CIA was that AZ adhere to all state and federal laws and
regulations in the sale and marketing of its products

51. AZ’s conduct as described herein was in knowing violation of those terms in its
CIA, and in various respects paralleled its illegal Zoladex marketing.

2. AZ’s Civil Settlement In Connection With Its Illega_l Marketing of
Seroguel

52. On April 27, 2010, AstraZeneca entered into a Settlement Agreement with the
F ederal Government and various states in the amount of Five Hundred Twenty Million Dollars
($520,000,000) to settle the govemment’s allegations of AZ’s illegal conduct in the marketing of
its drug, Seroquel, during the period January 1, 2001 through December 31, 2006, including in
prominent part, that AZ offered and paid “illegal remuneration” in its marketing of Seroquel “in
violation of the F ederal Anti-Kickback Statute.”

53. The activity punished by that agreement was similarly in direct violation of the
CIA of June 20, 2003.

54. On April 27, 2010, AZ was again required to enter into a CIA.

3. AZ’s Illegal Conduct -- Overview

55. AZ’s illegal conduct was not confined to its illegal sale and marketing of the
drugs, Zoladex and Seroquel. Rather, it extended to the drug, Nexium, whose sales in the United
States exceed $21 Billion over the relevant period.

56. AZ’s illegal conduct concerning Nexium during the relevant period includes, inter
alia, (1) providing illegal financial inducements in the hundreds of millions of dollars to secure
preferred formulary placement, recommendation, and purchase of Nexium; (2) falsely reporting
the “best price” of Nexium by not properly accounting for these quid pro quo financial
inducements as Nexium product discounts or rebates; and (3) violating its CIA.

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57. As set forth in this Complaint, much of AZ’s illegal conduct regarding Nexium
took place while AZ was under federal investigation for the illegal marketing of Seroquel and
while AZ was negotiating a settlement of that conduct with the government - - and continues this
day.

58. AZ knowingly made illegal in-kind value payments to Medco in order to induce it
to: 1) provide Nexium with a preferred tier position on its formulary; 2) recommend Nexium to
network physicians and subscribers via favorable formulary placement; and 3) buy Nexium.

59. AZ knowingly conspired with Medco so that Medco would do so even where
other (“less favored”) competitor drugs were cheaper to patients or plans, or had less expensive
equivalents to the “favored” drug, Nexium.

60. ln several instances as set forth herein, AZ entered into agreements with the
manufacturers of less expensive generic competitor drugs, requiring the generic manufacturer to
refrain from selling those less expensive drugs to Medco in order to maintain the value of the in-
kind financial inducements being made to Medco,

IV. AZ’S ILLEGAL INDUCEMENTS/ILLEGAL CIRCUMVENTION OF BEST
PRICE

61. During the relevant period, the Federal Government was AZ’s largest overall
customer for its prescription drugs, including Nexium.

62. During the relevant period, Medco was AZ’s largest commercial customer for its
prescription drugs, including Nexium.

63. During the relevant period, Medco was receiving AZ’s “best price” in connection

with Nexium.

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64. In 2004, AZ agreed to provide Medco with additional Nexium discounts of
approximately 10% in return for Nexium’s preferred placement on Medco’s formulary and d
Medco’s promotion and direct purchase of the drug.

65. The approximate value of the 10% Nexium discount to Medco was $100 Million.
Therefore, in 2004, AZ agreed to pay Medco $lOO Million as an inducement for Nexium’s
preferred placement on Medco’s formulary, its network recommendations and purchases Said
AZ 8100 Million financial inducement was in violation of the federal anti-kickback statute.

66. The 10% or $ 100 Million discount to Medco in connection with Nexium, properly
reported as such by AZ, would have resulted in a new and lower best price for Nexium, and with
it, significantly lower costs and/or higher rebates to all Government Health Care Program
purchasers and reimbursers nationally, and would have significantly reduced Nexium’s overall
profitability with sales in the United States at approximately $3 Billion annually by 2004.

67. In order to circumvent its best price obligations for Nexium and maintain
Nexium’s profitability at government expense, AZ fraudulently disguised said $100 Million in
Nexium quid pro quo discounts, in the form of deep discounts to Medco for AZ‘s drug Prilosec,
having a value to Medco of approximately $100 Million.

68. AZ’S $100 Million in-kind financial inducement to Medco to maintain Nexium’s
favorable formulary position, masking an additional 10% Nexium discount, was specifically
intended by AZ to circumvent AZ’s best price Government Health Care Program obligations as
to Nexium, and therefore was intended to defraud, and did significantly defraud, government
purchasers and reimbursers in connection with Nexium purchases and reimbursements

69. A hidden additional 10% discount, unreported for “best price,” translates into

overpayments by government entities of hundreds of millions of dollars, if not more, in

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connection with AZ’s $3 Billion per year drug, Nexium - - all fraudulently going directly to
AZ’s bottom line.

70. Said illegal scheme was developed and put in place at the highest levels of AZ,
and included as its architects, Richard Fante, then VP of Commercial Operations - - Nexium
(now, President, AZ United States), Linda Palczuk, then Executive Director of Commercial
Operations - - Nexium (now Executive Director, Commercial Operations) and Mike Tilton, then
National Sales Director (now Vice President U.S. Sales).

71. Said illegal conduct took place in 2004 following AZ’s 2003 admission of
criminal guilt in connection with AZ’s Zoladex pricing/best price violations (see para. 48 above)
and in violation of AZ’s CIA (effective June 2003) - - and reflects AZ’s ongoing corporate
strategy of profits over compliance in defiance of applicable law.

72. By 2007, additional financial inducements/kickbacks to Medco were necessary in
order for AZ to maintain Nexium’s preferred placement on Medco’s formulary and the Nexium
purchases and recommendations that resulted therefrom. For that reason, AZ’s senior
management agreed to pay Medco an additional $40 Million per year, from 2007 through 2010,
to maintain Nexium’s preferred formulary position.

73. ln order to circumvent its best price obligations under applicable law, and thereby
maintain Nexium’s profitability at government expense, AZ fraudulently disguised the additional
Nexium discounts by providing in-kind kickbacks to Medco via steep discounts in several of
AZ’s more “mature” drugs, including Toprol XL, Prilosec, and Plendil -- having a value to
Medco of $40 Million per year from 2007 through 2010. See AZ “Confidential” documents
reflecting this shifting of additional other-product discounts in support of Nexium, including

“Proposed Terms and Value: Nexium, Effective - - 1/1/08 until 12/23/10,” collectively attached

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hereto as Exhibit “A”. See also internal AZ and Medco, Nexium “Value Tracking” other-
product discount spreadsheets, tracking the Nexium- related “value to Medco,” of said other-
product additional discounts on a quarterly basis through December 2008 - - collectively
attached hereto as Exhibit “B”.

74. This continuation of AZ’s illegal conduct was maintained at the highest levels of
AZ, and included Marion McCourt, then VP of Commercial Operations - - Nexium and Azenity
brands (Toprol XL, Prilosec and Plendil), now, President, AZ Canada; and Donald Sawyer, then,
Vice President of Managed Markets.

75. In order that the $40 Million value of its Nexium-related annual subterfuge
inducements be maintained and AZ’s best price obligations effectively circumvented, AZ entered
into an agreement with a generic drug company, by which the company was prohibited from
selling its FDA authorized generic of Toprol XL to Medco. (See relevant portion of Agreement
Executive Summary dated September 22, 2006, reflecting said prohibition - - Exhibit “C”).
Similarly, and for the same purpose, AZ entered into an agreement with a second generic drug
company by which that company was prohibited from selling its FDA-authorized generic of
Prilosec to Medco.

76. Aware that these subterfuge $40 Million per year in-kind financial inducements in
connection with Nexium were in violation of AZ’s best price obligations, these meetings were
held in secret, agreements were not reduced to writing, and any written materials were handed
back to a single AZ individual at the conclusion of each meeting.

77. These actions were consistent with AZ’s practice under Marion McCourt to
eliminate or reduce any incriminating paper trail to the extent possible. See, e. g., attached email

string dated January 17 and 18, 2008, to Relator DiMattia, referencing “Marion” and noting that

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“legal always advises us to . . . be less communicative in our messaging.” (Emails attached
hereto as Exhibit “D”).

78. However, Relator Tuggle, personally attended these meetings in his capacity as
Managed Markets Account Director - - Medco, and maintained a copy of the subterfuge $40
Million value transmission spreadsheets - - collectively Exhibit “B” - - which effectively reflect
the illegal AZ transaction

79. Relator Tuggle specifically complained to senior management, including
Specifically to Donald Sawyer among others, that the aforementioned transactions were in
violation of AZ’s best price requirements and were illegal. ln response, he was retaliated against
by AZ, harassed and finally terminated on pretext.

80. The in-kind payments to Medco were specifically devised as a Subterfuge by AZ
to avoid paying discounts or rebates that would have affected the Medicaid best price for
Nexium, while acting as kickbacks to Medco in return for securing or maintaining Nexium
preferred placement on Medco’s formulary.

81. By said in-kind inducements/ subterfuge payments to Medco as described herein
- - not properly accounted for by AZ as discounts and rebates - - AZ knowingly and significantly
overstated its Nexium “best price” and knowingly and significantly overcharged government
purchasers and/or underpaid rebates on Nexium to the Medicaid Program.

V. AZ’S KNOWING, INTENTIONAL AND PERVASIVE
VIOLATION/CIRCUMVENTION OF THE CIA

82. During the period of the CIA (from June 4, 2003 to June 4, 2008), virtually all of
the conduct set forth above - - AZ’s inducements to Medco and intentional circumvention of its
best price obligations - - were in direct violation of AZ’s CIA, and replicated and continued the

very AZ illegal Zoladex conduct that led to the 2003 AZ criminal guilty plea and the CIA itself.

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83. ln addition, during much of the relevant period, AZ continued to engage in this
illegal conduct in connection with Nexium, while aware that it was then also under investigation
by the Department of Justice in connection with its illegal marketing practices, including
financial inducements, as to Seroquel.

VI. ASTRAZENECA HAS CAUSED THE SUBMISSI()N OF FALSE CLAIMS AND
RECORDS

84. AstraZeneca has embarked upon this course of unlawful conduct knowing it
would lead to the submission of a myriad of claims for Nexium by Medicare and Medicaid-
participating providers, when by law these claims were not reimbursable and would not have
been reimbursed by Government Health Care Pro grams had the truth about AstraZeneca’s illegal
practices been known.

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FALSE CLAIMS ACTj 31 U.S.C. § 3729(;11(1) (1986)

85. Relators DiMattia and Tuggle repeat and reallege paragraphs 1 through 84 of this
Complaint as if fully set forth herein.

86. As a result of AZ’s financial inducement or in-kind kickbacks to induce Medco to
provide favorable formulary position, purchase and recommend the purchasing or prescribing of
AZ’s drug, Nexium, in violation of the federal anti-kickback statute, 42 U.S.C. § 1320a-7b(b)(2),
all of the claims that AZ caused Medco, its network physicians pharmacists and plans to present
to Medicaid or other Government Health Care Programs for those drugs are false or fraudulent
Accordingly, AZ knowingly caused to be presented false or fraudulent claims for payment or

approval in violation of 31 U.S.C. § 3729(a)(1) (1986).

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87. By virtue of the false or fraudulent claims AZ knowingly caused to be presented,
the United States and state Medicaid programs have suffered actual damages and been damaged
by the payment of false and fraudulent claims

WHEREFORE, Relators respectfully requests this Court to award the following
damages to the following parties and against AZ:
To the United States:

(1) Three times the amount of actual damages which the United States
has sustained as a result of Defendant’s conduct;

(2) A civil penalty of not less than $5,500 and not more than $1 1,000
for each false claim which Defendant caused to be presented to the
United States;

(3) Prejudgment interest; and

(4) All costs incurred in bringing this action.

To Relators:
(1) The maximum amount allowed pursuant to § 3730(d) of the FCA
and/or any other applicable provision of law;
(2) Reimbursement for reasonable expenses which Relators incurred
in connection with this action;
(3) An award of reasonable attorney’s fees and costs; and
(4) Such further relief as this Court deems equitable and just.
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FALSE CLAIMS ACT: 31 U.S.C. § 3729(a)(1)(B) (2009)
88. Relators DiMattia and Tuggle repeat and reallege paragraphs 1 through 84 of the
Complaint as if fully set forth herein.
89. AZ knowingly caused Medco, its network physicians, pharmacists and plans to
make or use false records or statements material to false or fraudulent claims paid or approved by

the Government Health Care Programs, in violation of 31 U.S.C. § 3729(a)(1) (B) (2009). The

false records or statements were their false certifications and representations of full compliance

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with all federal and state laws and regulations prohibiting fraudulent acts and false reporting,
including but not limited to the anti-kickback statute, 42 U.S.C. § 1320a-7b.

90. By virtue of the false records or statements AZ caused Medco, its network
physicians, pharmacists and plans to make or use, the United States and state Medicaid programs
have suffered actual damages and been damaged by the payment of false and fraudulent claims

WHEREFORE, Relators respectfully requests this Court to award the following
damages to the following parties and against AZ:
To the United States:

(1) Three times the amount of actual damages which the United States
has sustained as a result of Defendant’s conduct;

(2) A civil penalty of not less than 85,500 and not more than $11,000
for each false claim which Defendant caused to be presented to the
United States;

(3) Prejudgment interest; and

(4) All costs incurred in bringing this action.

To Relators:
(1) The maximum amount allowed pursuant to § 3730(d) of the FCA
and/or any other applicable provision of law;
(2) Reimbursement for reasonable expenses which Relators incurred
in connection with this action;
(3) An award of reasonable attomey’s fees and costs; and
(4) Such further relief as this Court deems equitable and just.
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FALSE CLAIMS ACT, 31 U.S.C. §729(3)(3) (1986)
91. Relators DiMattia and Tuggle repeat and reallege paragraphs 1 through 84 of this
Complaint as if fully set forth herein.
92. AZ conspired with Medco to pay financial inducements or in-kind kickbacks to

Medco in violation of the federal anti-kickback statute, 42 U.S.C. § 1320a-7b(b)(2), in order to

induce Medco’s purchase, favorable formulary placement, promotion and recommendation of

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Nexium, thereby causing all of Medco’s, its network physicians’, pharmacists’ and plans’ claims

to Medicaid for Nexium to be false or fraudulent. Accordingly, AZ conspired to defraud the

United States by getting false or fraudulent claims allowed or paid, in violation of 31 U.S.C.

§ 3729(3)(3) (1986).

93. By virtue of the false or fraudulent claims AZ conspired to get allowed or paid,

the United States and the state Medicaid programs have suffered actual damages

WHEREFORE, Relators respectfully request this Court to award the following

damages to the following parties and against AZ:

To the United States;

(1)

(2)

(3)
(4)

To Relators:
(1)
(2)

(3)
(4)

Three times the amount of actual damages which the United States
has sustained as a result of Defendant’s conduct;

A civil penalty of not less than $5,500 and not more than $11,000
for each false claim which Defendant caused to be presented to the
United States;

Prejudgment interest; and

All costs incurred in bringing this action.

The maximum amount allowed pursuant to § 373 O(d) of the FCA
and/or any other applicable provision of law;

Reimbursement for reasonable expenses which Relators incurred
in connection with this action;

An award of reasonable attorney’s fees and costs; and

Such further relief as this Court deems equitable and just.

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VIOLATION OF BEST PRICE (MEDICAID DRUG REBATE STATUTE)

94. Relators DiMattia and Tuggle repeat and reallege paragraphs 1 through 84 of this

Complaint as if fully set forth herein,

95. As a result of the specific and intended failure of AZ to report its actual best price

for Nexium as required by law, government purchasers and reimbursers of Nexium were

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overcharged and/or were underpaid required rebates in the hundreds of millions of dollars if not
more.
96. By virtue of AZ’s false or fraudulent claims and violation of the Medicaid Drug
Rebate Statute, the United States and the state Medicaid programs have suffered actual damages
WHEREFORE, Relators respectfully request this Court to award the following
damages to the following parties and against AZ:
To the United States:
(1) Three times the amount of actual damages which the United States
has sustained as a result of Defendant’s conduct;
(2) A civil penalty of not less than $5,500 and not more than $11,000
for each false claim which Defendant caused to be presented to the
United States;
(3) Prejudgment interest; and
(4) All costs incurred in bringing this action.
To Relators:
(1) The maximum amount allowed pursuant to § 373 O(d) of the FCA
and/or any other applicable provision of law;
(2) Reimbursement for reasonable expenses which Relators incurred
in connection with this action;
(3) An award of reasonable attorney’s fees and costs; and
(4) Such further relief as this Court deems equitable and just.
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UNJUST ENRICHMENT
97. Relators DiMattia and Tuggle repeat and reallege paragraphs l through 84 of this
Complaint as if fully set forth herein.
98. The United States claims the recovery of all monies by which AZ has been

unjustly enriched, including profits earned by AZ because of illegal inducements AZ paid to

Medco and false reporting of best price for Nexium.

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99. By obtaining monies as a result of its violations of federal and state law, AZ was
unjustly enriched, and is liable to account and pay such amounts, which are to be determined at
trial, to the United States

100. By this claim, the Relators, in behalf of the United States, request a full
accounting of all revenues (and interest thereon) and costs incurred by AZ on sales of Nexium
that are related to AZ’s violations of federal law, and disgorgement of all profits earned and/or
imposition of a constructive trust in favor of the United States on those profits

WHEREFORE, the Relators respectfully request this Court enter judgment in
favor of the United States as follows:

for unjust enrichment, for the damages sustained and/or amounts by which AZ
retained illegally obtained monies, plus interest, costs, and expenses, and such further relief as
may be just and proper.

COUNT VI
RETALIATION AND VIOLATION OF 31 U.S.C. §3730(H)
F. FOLGER TUGGLE VS. ASTRAZENECA

101. Relator Tuggle repeats and realleges paragraphs 1 through 84 of this Complaint as
if fully set forth herein.

102. At all times material hereto, AZ was an employer covered by 31 U.S.C.

§ 373 O(h). Section 373 O(h) precludes discharge, demotion or retaliation against employees who
investigate, provide testimony or assistance in any action filed or to be filed under the False
Claims Act, 31 U.S.C. § 3729.

103. Relator Tuggle’s discharge as set forth above was in violation of 31 U.S.C.

§ 3730(h).

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104. As a direct and proximate result of the retaliation, harassment, threats and
discharge by AZ, Relator Tuggle suffered and incurred and continues to suffer and incur
substantial loss of past and future eamings; compensation and other benefits and monies; harm
and damage to Relator’s professional reputation and credibility by being wrongfully discharged
in violation of public policy and with the false implication and statements to employees
prospective employers and others in the community that Relator Tuggle was terminated for
reasons unrelated to the aforementioned refusal to acquiesce and the potential to disclose, AZ’s
illegal and fraudulent conduct as set forth herein,

105. AZ’s conduct was malicious fraudulent and oppressive and in violation of public
policy and a violation of 31 U.S.C. §3730(h).

WHEREFORE, Relator Tuggle requests that judgment be entered against
Defendant in his favor and that he be awarded any and all relief pursuant to 31 U.S.C. §3730(h)

including, but not limited to:

a. Two times the amount of back pay;

b. Interest on back pay;

c. Any and all other compensatory and special damages;

d. All litigation and reasonable attorney’s fees;

e. Punitive damages; and

f. Any such further relief that this Court deems appropriate
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CALIFORNIA FALSE CLAIMS ACT
106. Relators DiMattia and Tuggle repeat and reallege each allegation contained in

paragraphs 1 through 84 above as if fully set forth herein.

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107. This is a qui tam action brought by Relators on behalf of the State of California to
recover treble damages and civil penalties under the California False Claims Act, Cal. Gov’t.
Code § 12650 et seq.

108. Cal. Gov’t Code § 12651 (a) provides liability for any person who

(1) knowingly presents or causes to be presented, to an officer or
employee of the state or of any political division thereof, a false claim for
payment or approval;

(2) knowingly makes uses or causes to be made or used a false record
or statement to get a false claim paid or approved by the state or by any
political subdivision;

(3) conspires to defraud the state or any political subdivision by
getting a false claim allowed or paid by the state or by any political
subdivision

(8) is a beneficiary of an inadvertent submission of a false claim to the
State or a political subdivision, subsequently discovers the falsity of the

claim, and fails to disclose the false claim to the state or the political
subdivision within a reasonable time after discovery of the false claim.

109. ln addition, the payment or receipt of bribes or kickbacks is prohibited under Cal.
Bus & Prof. Code § 650 and 650.1, and is also specifically prohibited in treatment of Medi-Cal
patients pursuant to Cal. Welf. & lnst. Code §14107.2.

110. AZ violated Cal. Bus. & Prof. Code § 650 and 650.1 and Cal. Welf. & lnst. Code
§ 14107.2 by engaging in the conduct described herein

111. AZ furthermore violated Cal. Gov’t Code § 12651 (a) and knowingly caused false
claims to be made, used and presented to the State of California by its deliberate and systematic
violation of federal and state laws including the FCA, federal Anti-Kickback Act, Cal. Bus. &
Prof. Code § 650-650,1 and Cal. Welf. & lnst. Code § 14107.2 and by virtue of the fact that none
of the claims submitted in connection with its conduct were even eligible for reimbursement by

the Government Health Care Programs.

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112. The State of Califomia, by and through the California Medicaid program and
other state healthcare programs and unaware of AZ’s conduct, paid the claims submitted by
healthcare providers and third party payers in connection therewith.

113. Compliance with applicable Medicare, Medi-Cal and the various other federal and
state laws cited herein was an implied, and upon information and belief; also an express
condition of payment of claims submitted to the State of California in connection with AZ’s
conduct. Compliance with applicable California statutes regulations and Pharmacy Manuals
was also an express condition of payment of claims submitted to the State of California.

114. Had the State of California known of AZ’s wrongful conduct in connection with
Nexium, it would not have paid the claims submitted by healthcare providers and third party
payers in connection with that conduct.i

115. As a result of AZ’s violation of Cal. Gov’t Code § 12651(a), the State of
California has been damaged in an amount far in excess of millions of dollars exclusive of
interest.

116. Relators are each private citizens with direct and independent knowledge of the
allegations of this Complaint, who have brought this action pursuant to Cal. Gov’t Code
§ 12652(0) on behalf of themselves and the State of California.

WHEREFORE, Relators respectfully request this Court to award the following
damages to the following parties and against AZ:
To the State of California:
(1) Three times the amount of actual damages which the State of
California has sustained as a result of Defendant’s conduct;
(2) A civil penalty of not less than $5000 and not more than $10,000
for each false claim which Defendant presented or caused to be

presented to the State of Califomia;
(3) Prejudgment interest; and

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(4) All costs incurred in bringing this action

To Relators:

(1) The maximum amount allowed pursuant to Cal. Gov’t Code
§ 12652 and/or any other applicable provision of law;

(2) Reimbursement for reasonable expenses which Relators incurred
in connection with this action;

(3) An award of reasonable attorney’s fees and costs; and

(4) Such further relief as this Court deems equitable and just.

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DELAWARE FALSE CLAIMS AND REPORTING ACT
117. Relators DiMattia and Tuggle repeat and reallege each allegation contained in
paragraphs 1 through 84 above as if fully set forth herein
118. This is a qui tam action brought by Relators on behalf of the State of Delaware to
recover treble damages and civil penalties under the Delaware False Claims and Reporting Act,
Title 6, Chapter 12 of the Delaware Code.
119. 6 Del. C. § 1201(a) provides liability for any person who-
(1) knowingly presents or causes to be presented, directly or
indirectly, to an officer or employee of the Government a false or
fraudulent claim for payment or approval;
(2) knowingly makes uses, or causes to be made or used, directly or
indirectly, a false record or statement to get a false or fraudulent claim
paid or approved; or
(3) conspires to defraud the Government by getting a false or
fraudulent claim allowed or paid.
120. In addition, 31 Del. C. § 1005 prohibits the solicitation or receipt of any
remuneration (including kickbacks bribes or rebate) directly or indirectly, overtly or covertly, in
cash or in kind in return for the furnishing of any medical care or services for which payment

may be made in whole or in part under any public assistance program.

121. AZ violated 31 Del. C. § 1005 by engaging in the conduct described herein,

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122. AZ furthermore violated 6 Del. C. § 1201(a) and knowingly caused false claims
to be made, used and presented to the State of Delaware by its deliberate and systematic
violation of federal and state laws including the FCA, the Anti-Kickback Act, and 31 Del. C.

§ 1005 and by virtue of the fact that none of the claims submitted in connection with its conduct
were even eligible for reimbursement by the government-funded healthcare programs

123. The State of Delaware, by and through the Delaware Medicaid program and other
state healthcare programs was unaware of Defendant’s conduct and paid the claims submitted by
healthcare providers and third party payers in connection therewith.

124. Compliance with applicable Medicare, Medicaid and the various other federal and
state laws cited herein was an implied, and upon information and belief, also an express
condition of payment of claims submitted to the State of Delaware in connection with AZ’s
conduct. Compliance with applicable Delaware statutes regulations and Pharmacy Manuals was
also an express condition of payment of claims submitted to the State of Delaware.

125. Had the State of Delaware known of AZ’s wrongful conduct in connection with
Nexium, it would not have paid the claims submitted by healthcare providers and third party
payers in connection with that conduct.

126. As a result of AZ’s violation of6 Del. C. § 1201(a), the State of Delaware has
been damaged in an amount far in excess of millions of dollars exclusive of interest.

127. Relators are each private citizens with direct and independent knowledge of the
allegations of this Complaint, who have brought this action pursuant to 6 Del. C. § 1203(b) on
behalf of themselves and the State of Delaware.

WHEREFORE, Relators respectfully request this Court to award the following

damages to the following parties and against AZ:

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To the State of Delaware:

(1) Three times the amount of actual damages which the State of
Delaware has sustained as a result of Defendant’s conduct;

(2) A civil penalty of not less than $5,500 and not more than $11,000
for each false claim which Defendant caused to be presented to the
State of Delaware;

(3) Prejudgment interest; and

(4) All costs incurred in bringing this action

To Relators:

(1) The maximum amount allowed pursuant to 6 Del C. § 1205, and/or
any other applicable provision of law;

(2) Reimbursement for reasonable expenses which Relators incurred
in connection with this action;

(3) An award of reasonable attorney’s fees and costs; and

(4) Such further relief as this Court deems equitable and just.

COUNT IX
FLORIDA FALSE CLAIMS ACT
128. Relators DiMattia and Tuggle repeat and reallege each allegation contained in
paragraphs 1 through 84 above as if fully set forth herein
129. This is a qui tam action brought by Relator on behalf of the State of Florida to
recover treble damages and civil penalties under the Florida False Claims Act, Fla. Stat. § 68.081

et Seq.
130. Fla. Stat. § 68.082(2) provides liability for any person who-

(a) knowingly presents or causes to be presented to an officer or
employee of an agency a false or fraudulent claim for payment or
approval ;

(b) knowingly makes uses or causes to be made or used a false record
or statement to get a false or fraudulent claim paid or approved by an
agency;

(c) conspires to submit a false or fraudulent claim to an agency or to
deceive an agency for the purpose of getting a false or fraudulent claim
allowed or paid.

131. ln addition, Fla. Stat. § 409.920 makes it a crime to:

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(c) knowingly charge, solicit, accept, or receive anything of value, other
than an authorized copayment from a Medicaid recipient, from any source
in addition to the amount legally payable for an item or service provided
to a Medicaid recipient under the Medicaid program or knowingly fail to
credit the agency or its fiscal agent for any payment received from a third-
party source;

(e) knowingly, solicit, offer, pay or receive any remuneration, including
any kickback, bribe or rebate, directly or indirectly, overtly or covertly, in
cash or in kind, in return for referring an individual to a person for the
furnishing of any item or service for which payment may be made, in
whole or in part, under the Medicaid program, or in return for obtaining,
purchasing, leasing, ordering, or arranging, for or recommending,
obtaining, purchasing, leasing, or ordering any goods facility, item, or
service, for which payment may be made, in whole or in part, under the
Medicaid program.

132. Fla. Stat. §456.054(2) also prohibits the offering, payment, solicitation, or receipt
of a kickback to a healthcare provider, whether directly or indirectly, overtly or covertly, in cash
or in kind, in exchange for referring or soliciting patients

133. AZ violated Fla. Stat. § 409.920(c) and (e) and §456.054(2) by engaging in the
conduct described herein.

134. AZ furthermore violated Fla. Stat. § 68.082(2) and knowingly caused false claims
to be made, used and presented to the State of Florida by its deliberate and systematic violation
of federal and state laws including the FCA, federal Anti-Kickback Act, Fla. Stat. § 409.920(c)
and (e) and §456.054(2) and by virtue of the fact that none of the claims submitted in connection
with its conduct were even eligible for reimbursement by the government-funded healthcare
programs

135. The State of Florida, by and through the Florida Medicaid program and other state
‘healthcare programs was unaware of Defendant’s conduct and paid the claims submitted by
healthcare providers and third party payers in connection therewith.

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136. Compliance with applicable Medicare, Medicaid and the various other federal and
state laws cited herein was an implied, and upon information and belief, also an express
condition of payment of claims submitted to the State of Florida in connection with AZ’s
conduct. Compliance with applicable Florida statutes regulations and Pharmacy Manuals was
also an express condition of payment of claims submitted to the State of Florida.

137. Had the State of Florida known of AZ’s wrongful conduct in connection with
Nexium, it would not have paid the claims submitted by healthcare providers and third party
payers in connection with that conduct.

138. As a result of AZ’s violation of Fla. Stat. § 68.082(2), the State of Florida has
been damaged in an amount far in excess of millions of dollars exclusive of interest.

139. Relators are each private citizens with direct and independent knowledge of the
allegations of this Complaint, who have brought this action pursuant to Fla. Stat. § 68.083(2) on
behalf of themselves and the State of Florida.

WHEREFORE, Relators respectfully request this Court to award the following
damages to the following parties and against AZ:
To the State of Florida:

(1) Three times the amount of actual damages which the State of Florida has
sustained as a result of Defendant’s conduct;

(2) A civil penalty of not less than $5,500 and not more than $ 11,000 for
each false claim which Defendant caused to be presented to the State of
Florida;

(3) Prejudgment interest; and

(4) All costs incurred in bringing this action

To Relators:

(1) The maximum amount allowed pursuant to Fla. Stat. § 68.085 and/or any

other applicable provision of law;

(2) Reimbursement for reasonable expenses which Relators incurred in
connection with this action,

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(3) An award of reasonable attorney’s fees and costs; and
(4) Such further relief as this Court deems equitable and just.

COUNT X
GEORGIA FALSE MEDICAID CLAIMS ACT

140. Relators DiMattia and Tuggle repeat and reallege each allegation contained in
paragraphs 1 through 84 above as if fully set forth herein,

141. This is a qui tam action brought by Relator on behalf of the State of Georgia to
recover treble damages and civil penalties under the Georgia False Medicaid Claims Act,
O.C.G.A. §49-4-168(2008) et seq.

142. O.C.G.A. § 49-4-168.1(a) provides liability for any person who:

(1) knowingly presents or causes to be presented to the Georgia Medicaid
program a false or fraudulent claim for payment or approval;

(2) knowingly makes uses or causes to be made or used, a false record or
statement to get a false or fraudulent claim paid or approved by the Georgia
Medicaid pro gram;

(3) conspires to defraud the Georgia Medicaid program by getting a false or
fraudulent claim allowed or paid.

143. AZ violated O.C.G.A. § 49-4-168 et seq. by engaging in the conduct described
herein

144. AZ furthermore violated O.C.G.A. § 49-4-168 and knowingly caused false claims
to be made, used and presented to the State of Georgia by its deliberate and systematic violation
of federal and state laws including the FCA, federal Anti-Kickback Act, by virtue of the fact that
none of the claims submitted in connection with its conduct were even eligible for
reimbursement by the government-funded healthcare programs

145. The State of Georgia, by and through the Georgia Medicaid program and other
state healthcare programs was unaware of Defendant’s conduct and paid the claims submitted by

healthcare providers and third party payers in connection therewith.

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146. Compliance with applicable Medicare, Medicaid and the various other federal and
state laws cited herein was an implied, and upon information and belief, also an express
condition of payment of claims submitted to the State of Georgia in connection with AZ’s
conduct. Compliance with applicable Georgia statutes regulations and Pharmacy Manuals was
also an express condition of payment of claims submitted to the State of Georgia,

147. Had the State of Georgia known of AZ’s wrongful conduct in connection with
Nexium, it would not have paid the claims submitted by healthcare providers and third party
payers in connection with that conduct.

148. As a result of AZ’s violation of O.C.G. A. § 49-4-168, the State of Georgia has
been damaged in an amount far in excess of millions of dollars exclusive of interest.

149. Relators are each private citizens with direct and independent knowledge of the
allegations of this Complaint, who has brought this action pursuant to O.C.G. A. § 49-4-168 on
behalf of himself and the State of Georgia.

WHEREFORE, Relators respectfully request this Court to award the following
damages to the following parties and against AZ:
To the State of Georgia:

(1) Three times the amount of actual damages which the State of Georgia has
sustained as a result of Defendant’s conduct;

(2) A civil penalty of not less than $5,500 and not more than $11,000 for
each false claim which Defendant caused to be presented to the State of
Georgia;

(3) Prejudgment interest; and

(4) All costs incurred in bringing this action

To Relators:

(1) The maximum amount allowed pursuant to O.C.G.A. § 49-4-168 and/or

any other applicable provision of law;

(2) Reimbursement for reasonable expenses which Relators incurred in
connection with this action;

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(3)
(4)

An award of reasonable attorney’s fees and costs; and
Such further relief as this Court deems equitable and just.

COUNT XI

HAWAII FALSE CLAIMS ACT

150. Relators DiMattia and Tuggle repeat and reallege each allegation contained in

paragraphs 1 through 84 above as if fully set forth herein

151. This is a qui tam action brought by Relator on behalf of the State of Hawaii to

recover treble damages and civil penalties under the Hawaii False Claims Act, Haw. Rev. Stat.

§ 661 -21 et seq.

152. Haw. Rev. Stat. § 661-21(a) provides liability for any person who-

(1)
(2)
(3)

(3)

knowingly presents or causes to be presented, to an officer or employee
of the state a false or fraudulent claim for payment or approval;
knowingly makes uses, or causes to be made or used, a false record or
statement to get a false or fraudulent claim paid or approved by the state;
conspires to defraud the state by getting a false or fraudulent claim
allowed or paid; or

* * *

is a beneficiary of an inadvertent submission of a false claim to the State,
who subsequently discovers the falsity of the claim, and fails to disclose
the false claim to the State within a reasonable time after discovery of the
false claim.

153. AZ violated Haw. Rev. Stat. §661-21(a) and knowingly caused false claims to be

made, used and presented to the State of Hawaii by its deliberate and systematic violation of

federal and state laws including the FCA and Anti-Kickback Act, and by virtue of the fact that

none of the claims submitted in connection with its conduct were even eligible for

reimbursement by the government-funded healthcare programs

154. The State of Hawaii, by and through the Hawaii Medicaid program and other state

healthcare programs was unaware of AZ’s conduct and paid the claims submitted by healthcare

providers and third party payers in connection therewith.

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155. Compliance with applicable Medicare, Medicaid and the various other federal and
state laws cited herein was an implied, and upon information and belief; also an express
condition of payment of claims submitted to the State of Hawaii in connection with AZ’s
conduct. Compliance with applicable Hawaii statutes regulations and Pharmacy Manuals was
also an express condition of payment of claims submitted to the State of Hawaii.

156. Had the State of Hawaii known of AZ’s wrongful conduct in connection with
Nexium, it would not have paid the claims submitted by healthcare providers and third party
payers in connection with that conduct.

157. As a result of AZ’s violation of Haw. Rev. Stat § 661-21(a) the State of Hawaii
has been damaged in an amount far in excess of millions of dollars exclusive of interest.

158. Relators are each private citizens with direct and independent knowledge of the
allegations of this Complaint, who has brought this action pursuant to Haw. Rev, Stat. § 661-
25(a) on behalf of himself and the State of Hawaii,

WHEREFORE, Relators respectfully request this Court to award the following
damages to the following parties and against AZ:
To the State of Hawaii:

(1) Three times the amount of actual damages which the State of Hawaii has
sustained as a result of Defendant’s illegal conduct;

(2) A civil penalty of not less than $5,000 and not more than $10,000 for
each false claim which Defendant caused to be presented to the State of
Hawaii;

(3) Prejudgment interest; and

(4) All costs incurred in bringing this action

To Relators:

(1) The maximum amount allowed pursuant to Haw. Rev. Stat. §661 -27

and/or any other applicable provision of law;

(2) Reimbursement for reasonable expenses which Relators incurred in
connection with this action;

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(3) An award of reasonable attorney’s fees and costs; and
(4) Such further relief as this Court deems equitable and just.

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ILLINOIS WHISTLEBLOWER REWARD AND PROTECTION ACT

15 9. Relators DiMattia and Tuggle repeat and reallege each allegation contained in
paragraphs 1 through 84 above as if fully set forth herein

160. This is a qui tam action brought by Relator on behalf of the State of lllinois to
recover treble damages and civil penalties under the lllinois Whistleblower Reward and
Protection Act, 740 111. Comp. Stat. 175 et seq.

161. 740 111. Comp. Stat. 175/3(a) provides liability for any person who:

(1) knowingly presents or causes to be presented, to an officer or employee
of the State of a member of the Guard a false or fraudulent claim for
payment or approval;

(2) knowingly makes uses or causes to be made or used, a false record or
statement to get a false or fraudulent claim paid or approved by the State;

(3) conspires to defraud the State by getting a false or fraudulent claim
allowed or paid,

162. ln addition, 305 111. Comp. Stat. 5/8 A-3(b) of the lllinois Public Aid Code
(Vendor Fraud and Kickbacks) prohibits the solicitation or receipt of any remuneration,
including any kickback, bribe or rebate, directly or indirectly, overtly or covertly, in cash or in
kind in return for furnishing any item or service for which payment may be made in whole or in
part under the lllinois Medicaid program.

163. AZ violated 305 111. Comp. Stat. 5/8A-3(b) by engaging in the conduct described
herein

164. AZ furthermore violated 740 111. Comp. Stat. 175/3(a) and knowingly caused
false claims to be made, used and presented to the State of lllinois by its deliberate and

systematic violation of federal and state laws including the FCA, federal Anti-Kickback Act,

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and the lllinois Vendor Fraud and Kickback statute, and by virtue of the fact that none of the
claims submitted in connection with its conduct were even eligible for reimbursement by the
government-funded healthcare programs

165. The State of lllinois by and through the lllinois Medicaid program and other state
healthcare programs was unaware of AZ’s conduct and paid the claims submitted by healthcare
providers and third party payers in connection therewith.

166. Compliance with applicable Medicare, Medicaid and the various other federal and
state laws cited herein was an implied, and upon information and belief, also an express
condition of payment of claims submitted to the State of lllinois in connection with AZ’s
conduct. Compliance with applicable lllinois statutes regulations and Pharmacy Manuals was
also an express condition of payment of claims submitted to the State of lllinois

167. Had the State of lllinois known of AZ’s wrongful conduct in connection with
Nexium, it would not have paid the claims submitted by healthcare providers and third parry
payers in connection with that conduct.

168. As a result of AZ’s violation of 740 111. Comp. Stat. 175/3(a), the State of
lllinois has been damaged in an amount far in excess of millions of dollars exclusive of interest.

169. Relators are each private citizens with direct and independent knowledge of the
allegations of this Complaint, who has brought this action pursuant to 740 111 Comp. Stat.
175/3(b) on behalf of himself and the State of Illinois.

WHEREFORE, Relators respectfully request this Court to award the following
damages to the following parties and against AZ:
To the State of lllinois:
(1) Three times the amount of actual damages which the State of lllinois has

sustained as a result of Defendant’s conduct;

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(2)

(3)
(4)

A civil penalty of not less than $5,500 and not more than $11,000 for
each false claim which Defendant caused to be presented to the State of
lllinois;

Prej udgment interest; and

All costs incurred in bringing this action

To Relators:

(1)
(2)

(3)
(4)

The maximum amount allowed pursuant to 740 111. Comp. Stat.
175/4(d) and/or any other applicable provision of law;
Reimbursement for reasonable expenses which Relators incurred in
connection with this action;

An award of reasonable attorney’s fees and costs; and

Such further relief as this Court deems equitable and just.

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INDIANA FALSE CLAIMS AND WHISTLEBLOWER PROTECTION ACT

170.

Relators DiMattia and Tuggle repeat and reallege each allegation contained in

paragraphs 1 through 84 above as if fully set forth herein

171.

This is a qui tam action brought by Relator on behalf of the State of lndiana to

recover treble damages and civil penalties under the lndiana False Claims and Whistleblower

Protection Act, lndiana Code 5-11-5.5 et seq. provides

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Sec. 2.(b) A person who knowingly or intentionally:

(1)
(2)

(3)

(4)
(5)
(6)
(7)

presents a false claim to the state for payment or approval;

makes or uses a false record or statement to obtain payment or approval
of a false claim from the state;

with intent to defraud the state, delivers less money or property to the
state than the amount recorded on the certificate or receipt the person
receives from the state;

with intent to defraud the state, authorizes issuance of a receipt without
knowing that the information on the receipt is true;

receives public property as a pledge of an obligation on a debt from an
employee who is not lawfully authorized to sell or pledge the property;
makes or uses a false record or statement to avoid an obligation to pay or
transmit property to the state;

conspires with another person to perform an act described in subdivisions
(1) through (6); or

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(8) causes or induces another person to perform an act described in
subdivisions (1) through (6)...

172. ln addition, lndiana Code 5-11-5.5 et seq. prohibits the solicitation or receipt of
any remuneration, including any kickback, bribe or rebate, directly or indirectly, overtly or
covertly, in cash or in kind in return for furnishing any item or service for which payment may
be made in whole or in part under the lndiana Medicaid program.

173. AZ violated the lndiana Code 5-1 1-5.5 et seq. by engaging in the conduct
described herein

174. AZ furthermore violated lndiana Code 5-11 -5.5 et seq. and knowingly caused
false claims to be made, used and presented to the State of lndiana by its deliberate and
systematic violation of federal and state laws including the FCA, federal Anti-Kickback Act,

` and the lndiana Vendor Fraud and Kickback statute, and by virtue of the fact that none of the
claims submitted in connection with its conduct were even eligible for reimbursement by the
government-funded healthcare programs

175. The State of lndiana, by and through the lndiana Medicaid program and other
state healthcare programs was unaware of AZ’s conduct and paid the claims submitted by
healthcare providers and third party payers in connection therewith.

176. Compliance with applicable Medicare, Medicaid and the various other federal and
state laws cited herein was an implied, and upon information and belief, also an express
condition of payment of claims submitted to the State of lndiana in connection with AZ’S
conduct. Compliance with applicable lndiana statutes regulations and Pharmacy Manuals was

also an express condition of payment of claims submitted to the State of lndiana.

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177. Had the State of lndiana known of AZ’s wrongful conduct in connection with
Nexium, it would not have paid the claims submitted by healthcare providers and third party
payers in connection with that conduct.

178. As a result of AZ’s violation of lndiana Code 5-11-5.5 et seq., the State of lndiana
has been damaged in an amount far in excess of millions of dollars exclusive of interest.

179. Relators are each private citizens with direct and independent knowledge of the
allegations of this Complaint, who has brought this action pursuant to lndiana Code 5-11-5.5 et
seq. on behalf of himself and the State of lndiana.

WHEREFORE, Relators respectfully request this Court to award the following
damages to the following parties and against AZ:
To the State of lndiana:
(1) Three times the amount of actual damages which the State of lndiana has
sustained as a result of Defendant’s conduct;
(2) A Civil penalty of at least five thousand dollars ($5,000);

(3) Prejudgment interest; and
(4) All costs incurred in bringing this action

To Relators:

(1) The maximum amount allowed pursuant to lndiana Code 5-11-5.5 et seq.
and/or any other applicable provision of law;

(2) Reimbursement for reasonable expenses which Relators incurred in
connection with this action;

(3) An award of reasonable attorney’s fees and costs; and

(4) Such further relief as this Court deems equitable and just.

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LOUISIANA MEDICAL ASSISTANCE PROGRAMS INTEGRITY LAW

180. Relators DiMattia and Tuggle repeat and reallege each allegation contained in

paragraphs 1 through 84 above as if fully set forth herein

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181. This is a qui tam action brought by Relator on behalf of the State of Louisiana to
recover treble damages and civil penalties under the Louisiana Medical Assistance Programs
lntegrity Law, La. Rev. Stat. 46: 437.1 et seq.

182. La. Rev. Stat. 46: 438.3 provides-

(A) No person shall knowingly present or cause to be presented a false
or fraudulent claim;

(B) No person shall knowingly engage in misrepresentation to obtain,
or attempt to obtain, payment from medical assistance program
funds;

(C) No person shall conspire to defraud, or attempt to defraud, the
medical assistance programs through misrepresentation or by

obtaining, or attempting to obtain, payment for a false or
fraudulent claim;

183. In addition, La. Rev. Stat. 46:43 8.2(A) prohibits the solicitation, receipt, offering
or payment of any financial inducements including kickbacks bribes rebates etc., directly or
indirectly, overtly or covertly, in cash of in kind, for furnishing healthcare goods or services paid
for in whole or in part by the Louisiana medical assistance programs

184. AZ violated La. Rev. Stat. 46:438.2(A) by engaging in the conduct described
herein

185. AZ furthermore violated La. Rev. Stat. 46:43 8.3 and knowingly caused false
claims to be made, used and presented to the State of Louisiana by its deliberate and systematic
violation of federal and state laws including the FCA, federal Anti-Kickback Act and La. Rev.
Stat. 456: 43 8.2(A), and by virtue of the fact that none of the claims submitted in connection
with its conduct were even eligible for reimbursement by the government-funded healthcare
programs

186. The State of Louisiana, by and through the Louisiana Medicaid program and other
state healthcare programs was unaware of AZ’s conduct and paid the claims submitted by

healthcare providers and third party payers in connection therewith.

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187. Compliance with applicable Medicare, Medicaid and the various other federal and
state laws cited herein was an implied, and upon information and belief, also an express
condition of payment of claims submitted to the State of Louisiana in connection with AZ’s
conduct. Compliance with applicable Louisiana statutes regulations and Pharmacy Manuals was
also an express condition of payment of claims submitted to the State of Louisiana.

188. Had the State of Louisiana known of AZ’s wrongful conduct in connection with
Nexium, it would not have paid the claims submitted by healthcare providers and third party
payers in connection with that conduct.

189. As a result of AZ’s violation of La. Rev. Stat. 46:438.3 the State of Louisiana has
been damaged in an amount far in excess of millions of dollars exclusive of interest.

190. Relators are each private citizens with direct and independent knowledge of the
allegations of this Complaint, who has brought this action pursuant to La. Rev. Stat. 46: 439.1(A)
on behalf of himself and the State of Louisiana.

WHEREFORE, Relators respectfully request this Court to award the following
damages to the following parties and against AZ:
To the State of Louisiana:
(1) Three times the amount of actual damages which the State of Louisiana
has sustained as a result of Defendant’s conduct;
(2) A civil penalty of up to $ 10,000 for each false claim which Defendant
caused to be presented to the State of Louisiana;
(3) Prejudgment interest; and
(4) All costs incurred in bringing this action.
To Relators:
(1) The maximum amount allowed pursuant to La. Rev. Stat. § 439.4(A)
and/or any other applicable provision of law;
(2) Reimbursement for reasonable expenses which Relators incurred in

connection with this action;
(3) An award of reasonable attorney’s fees and costs; and

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(4) Such further relief as this Court deems equitable and just.
L)_U§T_XY_
MICHIGAN MEDICAID FALSE CLAIMS ACT
191. Relators DiMattia and 'l`uggle repeat and reallege each allegation contained in
paragraphs 1 through 84 above as if fully set forth herein
192. 'l`his is a qui tam action brought by Relator on behalf of the State of Michigan to
recover treble damages and civil penalties under the Michigan Medicaid False Claims Act. Ml
S'l` Ch. 400.603 et seq.
400.603 provides liability in pertinent part as follows:
Sec. 3. (1) A person shall not knowingly make or cause to be made a false
statement or false representation of a material fact in an application for Medicaid
benefits;
(2)A person shall not knowingly make or cause to be made a false Statement or

false representation of a material fact for use in determining rights to a Medicaid
benefit...

193. ln addition, MI S'l` Ch. 400.604 prohibits the solicitation or receipt of any
remuneration including any kickback, bribe or rebate, directly or indirectly, overtly or covertly,
in cash or in kind in return for furnishing any item or service for which payment may be made in
whole or in part under the Michigan Medicaid program.

194. AZ violated Ml ST Ch. 400.603 et seq. by engaging in the conduct described
herein

195. AZ furthermore violated, MI ST Ch. 400.603 et seq. and knowingly caused false
claims to be made, used and presented to the State of Michigan by its deliberate and systematic
violation of federal and state laws, including the FCA, federal Anti-Kickback Act, and by virtue
of the fact that none of the claims submitted in connection with its conduct were even eligible for

reimbursement by the government-funded healthcare pro grams

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196. The State of Michigan, by and through the Michigan Medicaid program and other
state healthcare programs was unaware of AZ’s conduct and paid the claims submitted by
healthcare providers and third party payers in connection therewith.

197. Compliance with applicable Medicare, Medicaid and the various other federal and
state laws cited herein was an implied, and upon information and belief, also an express
condition of payment of claims submitted to the State of Michigan in connection with AZ’s
conduct. Compliance with applicable Michigan statutes regulations and Pharmacy Manuals was
also an express condition of payment of claims submitted to the State of Michigan

198. Had the State of Michigan known of AZ’s wrongful conduct in connection with
Nexium, it would not have paid the claims submitted by healthcare providers and third party
payers in connection with that conduct.

199. As a result of AZ’s violation of Ml ST Ch. 400.603 et seq. the State of Michigan
has been damaged in an amount far in excess of millions of dollars exclusive of interest.

200. Relators are private citizens with direct and independent knowledge of the
allegations of this Complaint, who have brought this action pursuant to Ml ST Ch. 400.603 et
seq. on behalf of himself and the State of Michigan

WHEREFORE, Relators respectfully request this Court to award the following
damages to the following parties and against AZ:
To the State of Michigan:
(1) Three times the amount of actual damages which the State of Michigan
has sustained as a result of Defendant’s conduct;
(2) A civil penalty equal to the full amount received for each false claim
which Defendant caused to be presented to the State of Michigan;
(3) Prejudgment interest; and

(4) All costs incurred in bringing this action

To Relators:

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(1) The maximum amount allowed pursuant to Ml ST Ch. 400.603 et seq.
and/or any other applicable provision of law;

(2) Reimbursement for reasonable expenses which Relators incurred in
connection With this action;

(3) An award of reasonable attorney’s fees and costs; and

(4) Such further relief as this Court deems equitable and just.

MH
MONTANA FALSE CLAIMS ACT
MONT. CODE ANN. § 17-8-403(a)-(b)

201. Relators DiMattia and Tuggle repeat and reallege by reference the allegations
contained in paragraphs l through 84 above as if fully set forth herein

202. This is a qui tam action brought by Relator on behalf of the State of Montana to
recover treble damages and penalties under the Montana False Claims Act, Mont. Code Ann
§ 17-8-403(1)(a)-(b)

203. 17-8-403 provides liability for any person who:

(a) knowingly presenting or causing to be presented to an officer or employee
of the governmental entity a false claim for payment or approval;

(b) knowingly making, using, or causing to be made or used a false record or
statement to get a false claim paid or approved by the governmental entity;

(c) conspiring to defraud the governmental entity by getting false claim
allowed or paid by the governmental entity.

(h) as a beneficiary of an inadvertent submission of a false claim to the
governmental entity, subsequently discovering the falsity of the claim and
failing to disclose the false claim to the governmental entity within -a
reasonable time after discovery of the false claim.

204. Compliance with applicable Medicare, Medicaid and the various other federal and
state laws cited herein was an implied, and upon information and belief, also an express

condition of payment of claims submitted to the State of Montana in connection with AZ’s

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conduct. Compliance with applicable Montana statutes regulations and Pharmacy Manuals was
also an express condition of payment of claims submitted to the State of Montana.

205. Had the State of Montana known of AZ’s wrongful conduct in connection with
Nexium, it would not have paid the claims submitted by healthcare providers and third party
payers in connection with that conduct.

206. The Montana State Govemment, unaware of the falsity of the records statements
and claims made, used, presented or caused to be made, used or presented by AZ, paid and
continues to pay the claims that would not be paid but for Defendant’s conduct.

207. By reason of the AZ’s acts the State of Montana has been damaged, and
continues to be damaged, in substantial amounts to be determined at trial.

208. The State of Montana is entitled to the maximum penalty of $10,000 for each and
every false or fraudulent claim, record or statement made, used, presented or caused to be made,
by AZ.

WHEREFORE, Relators respectfully request this Court to award the following

damages to the following parties and against AZ:

To the State of Montana:

(1) Not less than two times and not more than three times the amount of actual
damages which the State of Montana has sustained as a result of
Defendant’s conduct;

(2) A civil penalty of up to $ 10,000 for each false claim which Defendant
caused to be presented to the State of Montana;

(3) Prejudgment interest; and

(4) All costs incurred in bringing this action

To Relators:

(1) The maximum amount allowed pursuant to Montana Code Ann. § 17-8-
403 (1)(A)-(B). and/or any other applicable provision of law;

(2) Reimbursement for reasonable expenses which Relators incurred in
connection with this action;

(3) An award of reasonable attorney’s fees and costs; and

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(4) Such further relief as this Court deems equitable and just.
QLJM
NEVADA FALSE CLAIMS ACT
209. Relators DiMattia and Tuggle repeat and reallege each allegation contained in
paragraphs l through 84 above as if fully set forth herein
210. This is a qui tam action brought by Relator on behalf of the State of Nevada to
recover treble damages and civil penalties under the Nevada False Claims Act, Nev. Rev. Stat.
§ 357.010, et seq.
211. Nev. Rev. Stat. § 357.040(1) provides liability for any person who-
(a) knowingly presents or causes to be presented a false claim for
payment or approval;
(b) knowingly makes or uses or causes to be made or used, a false
record or Statement to obtain payment or approval of a false claim;

(c) conspires to defraud by obtaining allowance or payment of a false

claim;
>\= * *

(h) is a beneficiary of an inadvertent submission of a false claim and,
after discovering the falsity of the claim, fails to disclose the falsity
to the state or political subdivision within a reasonable time.

212. In addition, Nev. Rev. Stat. § 422.560 prohibits the solicitation, acceptance or
receipt of anything of value in connection with the provision of medical goods or services for
which payment may be made in whole or in part under the Nevada Medicaid program.

213. AZ violated Nev. Rev. Stat. § 422.560 by engaging in the conduct described
herein,

214. AZ furthermore violated Nev. Rev. Stat.§ 357.040(1) and knowingly caused false
claims to be made, used and presented to the State of Nevada by its deliberate and systematic

violation of federal and state laws including the FCA, federal Anti-Kickback Act and Nev. Rev.

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Stat. § 422.560, and by virtue of the fact that none of the claims submitted in connection with its
conduct were even eligible for reimbursement by the government-funded healthcare programs

215. The State of Nevada, by and through the Nevada Medicaid program and other
state healthcare programs was unaware of Defendant’s conduct and paid the claims submitted by
healthcare providers and third party payers in connection therewith.

216. Compliance with applicable Medicare, Medicaid and the various other federal and
state laws cited herein was an implied, and upon information and belief, also an express
condition of payment of claims submitted to the State of Nevada in connection with AZ’s
conduct. Compliance with applicable Nevada statutes regulations and Pharmacy Manuals was
also an express condition of payment of claims submitted to the State of Nevada.

217. Had the State of Nevada known of AZ’s wrongful conduct in connection with
Nexium, it would not have paid the claims submitted by healthcare providers and third party
payers in connection with that conduct.

218. As a result of AZ’s violation of Nev. Rev. Stat. § 357.040(1) the State of Nevada
has been damaged in an amount far in excess of millions of dollars exclusive of interest.

219. Relators are each private citizens with direct and independent knowledge of the
allegations of this Complaint, who has brought this action pursuant to Nev. Rev. Stat.

§ 357.080(1) on behalf of himself and the State of Nevada.

WHEREFORE, Relators respectfully request this Court to award the following
damages to the following parties and against AZ:

To the State of Nevada:

(1) Three times the amount of actual damages which the State of Nevada has
sustained as a result of Defendant’s conduct;

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(2)

(3)
(4)

A civil penalty of not less than $5,000 and not more than $ 10,000 for
each false claim which Defendant caused to be presented to the State of
Nevada;
Prejudgment interest; and

All costs incurred in bringing this action..

To Relators:

(1)
(2)

(3)
(4)

The maximum amount allowed pursuant to Nev. Rev. Stat. § 357.210
and/or any other applicable provision of law;

Reimbursement for reasonable expenses which Relators incurred in
connection with this action;

An award of reasonable attorney’s fees and costs; and

Such further relief as this Court deems equitable and just.

_C__Q_UMLI

THE NEW HAMPSHIRE HEALTH CARE FALSE CLAIMS ACT

220. Relators DiMattia and Tuggle repeat and reallege each allegation contained in

paragraphs 1 through 84 above as if fully set forth herein

221. This is a qui tam action brought by Relator on behalf of the State of New

Hampshire to recover treble damages and civil penalties under the New Hampshire Health Care

False Claims Law, N.H. Rev. Stat. Ann. §167:61-b et seq. provides:

1 .
(a)
(b)

(C)

(f)

Any person shall be liable who...

knowingly presents or causes to be presented, to an officer or employee
of the department a false or fraudulent claim for payment or approval;
knowingly makes uses, or causes to be made or used, a false record or
statement to get a false or fraudulent claim paid or approved by the
department;

conspires to defraud the State by getting a false or fraudulent claim
allowed or paid,

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ls a beneficiary of an inadvertent submission of a false claim to the
department, who subsequently discovers the falsity of the claim, and fails
to disclose the false claim to the department within a reasonable time
after discovery of the false claim.

222. ln addition, N.H. Rev. Stat. Ann. prohibits the solicitation or receipt of any

remuneration, including any kickback, bribe or rebate, directly or indirectly, overtly or covertly,

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in cash or in kind in return for furnishing any item or service for which payment may be made in
whole or in part under the New Hampshire Medicaid program.

223. AZ violated the N.H. Rev. Stat. Ann by engaging in the conduct described herein

224. AZ furthermore violated N.H. Rev. Stat. Ann. §167:61-b, and knowingly caused
false claims to be made, used and presented to the State of New Hampshire by its deliberate and
systematic violation of federal and state laws including the FCA, federal Anti-Kickback Act,
and the New Hampshire Vendor Fraud and Kickback statute, and by virtue of the fact that none
of the claims submitted in connection with its conduct were even eligible for reimbursement by
the government-funded healthcare programs

225. The State of New Hampshire, by and through the New Hampshire Medicaid
program and other state healthcare programs was unaware of AZ’s conduct and paid the claims
submitted by healthcare providers and third party payers in connection therewith.

226. Compliance with applicable Medicare, Medicaid and the various other federal and
state laws cited herein was an implied, and upon information and belief, also an express
condition of payment of claims submitted to the State of New Hampshire in connection with
AZ’s conduct. Compliance with applicable New Hampshire statutes regulations and Pharmacy
Manuals was also an express condition of payment of claims submitted to the State of New
Hampshire.

227. Had the State of New Hampshire known of AZ’s wrongful conduct in connection
with Nexium, it would not have paid the claims submitted by healthcare providers and third party

payers in connection with that conduct.

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228. As a result of AZ’s violation ofN.H. Rev. Stat. Ann. §167:61-b et seq., the State
of New Hampshire has been damaged in an amount far in excess of millions of dollars exclusive

of interest.

229. Relators are each private citizens with direct and independent knowledge of the
allegations of this Complaint, who have brought this action pursuant to N.H. Rev.Stat. Ann.
§167:61-b et seq. on behalf of himself and the State of New Hampshire.

WHEREFORE, Relators respectfully request this Court to award the following
damages to the following parties and against AZ:
To the State of New Hampshire:

(1) Three times the amount of actual damages which the State of New
Hampshire has sustained as a result of Defendant’s conduct;

(2) A civil penalty of not less than $5,000 and not more than $10,000 for
each false claim which Defendant caused to be presented to the State of
New Hampshire;

(3) Prejudgment interest; and

(4) All costs incurred in bringing this action

To Relators:

(1) The maximum amount allowed pursuant to N.H. Rev. Stat. Ann
§ 167:61-b et seq. and/or any other applicable provision of law;

(2) Reimbursement for reasonable expenses which Relators incurred in
connection with this action;

(3) An award of reasonable attorney’s fees and costs; and

(4) Such further relief as this Court deems equitable and just.

COUNT XIX
NEW JERSEY FALSE CLAIMS ACT
230. Relators DiMattia and Tuggle repeat and reallege each allegation contained in

paragraphs 1 through 84 above as if fully set forth herein

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231. This is a qui tam action brought by Relator on behalf of the State of New Jersey to
recover treble damages and civil penalties under the New Jersey False Claims Act, N.J. Stat.
§ 2A:32C-1 et seq. (2008) et seq.

232. N.J. Stat. § 2A:32C-3 provides liability for any person who:

(a) knowingly presents or causes to be presented, to an employee,
officer, or agent of the State or to any contractor, grantee, or other
recipient of State funds a false or fraudulent claim for payment or
approval;

(b) knowingly makes uses, or causes to be made or used a false record
or statement to get a false or fraudulent claim paid or approved by
the State;

(c) conspires to defraud the State by getting a false or fraudulent claim
allowed or paid by the State.

233. ln addition, Section 17 of P.L. 1968, c.413 (C.30:4D717) of the New Jersey False
Claims Act prohibits the solicitation offer or receipt of any remuneration including any
kickback, rebate or bribe in connection with the furnishing of items or services for which
payment is or may be made in whole or in part under the New Jersey Medicaid program.

234. AZ violated Section 17 of P.L. 1968, c.413 (C.30:4D-17) by engaging in the
conduct described herein

235. AZ furthermore violated N.J. Stat. § 2A:32C-1 et seq. and knowingly caused false
claims to be made, used and presented to the State of New Jersey by its deliberate and systematic
violation of federal and state laws including the FCA, federal Anti-Kickback Act, and the New
Jersey False Claims Act and Kickback statute, and by virtue of the fact that none of the claims
submitted in connection with its conduct were even eligible for reimbursement by the
government-funded healthcare programs

236. The State of New Jersey, by and through the New Jersey Medicaid program and
other state healthcare programs was unaware of AZ’s conduct and paid the claims submitted by

healthcare providers and third party payers in connection therewith.

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237. Compliance with applicable Medicare, Medicaid and the various other federal and
state laws cited herein was an implied, and upon information and belief, also an express
condition of payment of claims submitted to the State of New Jersey in connection with AZ’s
conduct. Compliance with applicable New Jersey statutes regulations and Pharmacy Manuals
was also an express condition of payment of claims submitted to the State of New Jersey.

238. Had the State of New Jersey known of AZ’s wrongful conduct in connection with
Nexium, it would not have paid the claims submitted by healthcare providers and third party
payers in connection with that conduct.

239. As a result of AZ’s violation of N.J. Stat. § 2A:32C-1 et seq., the State of New
Jersey has been damaged in an amount far in excess of millions of dollars exclusive of interest.

240. Relators are each private citizens with direct and independent knowledge of the
allegations of this Complaint, who has brought this action pursuant to N.J. Stat. § 2A:32C-1
et seq. on behalf of himself and the State of New Jersey.

WHEREFORE, Relators respectfully request this Court to award the following
damages to the following parties and against AZ:
To the State of New Jersey:

(1) Three times the amount of actual damages which the State of New Jersey
has sustained as a result of Defendant’s conduct;

(2) A civil penalty of not less than and not more than the civil penalty
allowed under the federal False Claims Act (31 U.S.C. s.3729 et seq.)
which Defendant caused to be presented to the State of New Jersey;

(3) Prejudgment interest; and

(4) All costs incurred in bringing this action.

To Relators:

(1) The maximum amount allowed pursuant to N.J. Stat. § 2A:32C-1 et seq.

and/or any other applicable provision of law;

(2) Reimbursement for reasonable expenses which Relators incurred in
connection with this action;

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(3) An award of reasonable attorney’s fees and costs; and
(4) Such further relief as this Court deems equitable and just.

COUNT XX
NEW MEXICO MEDICAID FALSE CLAIMS ACT AND NEW MEXICO FRAUD
AGAINST TAXPAYERS ACT

241. Relators DiMattia and Tuggle repeat and reallege each allegation contained in
paragraphs 1 through 84 above as if fully set forth herein

242. This is a qui tam action brought by Relator on behalf of the State of New Mexico
to recover treble damages and civil penalties under the New Mexico Medicaid False Claims Act
N.M. Stat. Ann§§ 27-14-1 et seq.

243. Section 4 provides liability in pertinent part as follows:

A person ...shall be liable...if the person:

A, presents or causes to be presented, to the state a claim for payment
under the Medicaid program knowing that such claim is false or
fraudulent;

B. presents or causes to be presented, to the state a claim for payment
under the Medicaid program knowing that the person receiving a Medicaid
benefit or payment is not authorized or is not eligible for a benefit under
the Medicaid program;

C. makes uses or causes to be made or used a record or statement to
obtain a false or fraudulent claim under the Medicaid program paid for or
approved by the state knowing such record or statement is false;

D. conspires to defraud the state by getting a claim allowed or paid.
Under the Medicaid program knowing that such claim is false or
fraudulent

244. lt is also brought by Relator on behalf of the State of New Mexico to recover
treble damages and civil penalties under the New Mexico Fraud Against Taxpayers Act N.M.
Stat. Ann § 44-9-1 et seq. provides liability in pertinent part as follows:

245. § 44-9-3(A) A person shall not:

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(1)' knowingly present, or cause to be presented, to an employee,
officer or agent of the state or to a contractor, grantee or other recipient of
state funds a false or fraudulent claim for payment or approval;

(2) knowingly make or use, or cause to be made or used, a false,
misleading or fraudulent record or statement to obtain or support the
approval of or the payment on a false or fraudulent claim;

(3) conspire to defraud the state by obtaining approval or payment on
a false or fraudulent claim.

246. ln addition, N.M, Stat. Ann§ § 30-44-7 et seq. prohibits the solicitation or receipt
of any remuneration including any kickback, bribe or rebate, directly or indirectly, overtly or
covertly, in cash or in kind in return for furnishing any item or service for which payment may
be made in whole or in part under the New Mexico Medicaid program.

247. AZ violated N.M. Stat. Ann§§ 30-44-7 et seq. by engaging in the conduct
described herein

248. AZ furthermore violated, N.M. Stat. Ann§§ 27-14-1 et seq. and knowingly caused
false claims to be made, used and presented to the State of New Mexico by its deliberate and
systematic violation of federal and state laws including the FCA,,federal Anti~Kickback Act,
and by virtue of the fact that none of the claims submitted in connection with its conduct were
even eligible for reimbursement by the government-funded healthcare programs

249. The State of New Mexico, by and through the New Mexico Medicaid program
and other state healthcare programs was unaware of AZ’s conduct and paid the claims submitted
by healthcare providers and third party payers in connection therewith.

250. Compliance with applicable Medicare, Medicaid and the various other federal and
state laws cited herein was an implied, and upon information and belief, also an express
condition of payment of claims submitted to the State of New Mexico in connection with AZ’s

conduct.

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251. Compliance with applicable New Mexico statutes regulations and Pharmacy
Manuals was also an express condition of payment of claims submitted to the State of New
Mexico.

252. Had the State of New Mexico known of AZ’s wrongful conduct in connection
with Nexium, it would not have paid the claims submitted by. healthcare providers and third
party payers in connection with that conduct.

253. As a result of AZ’s violation of N.M. Stat. Ann§§ 27-14-1 et seq. the State of
New Mexico has been damaged in an amount far in excess of millions of dollars exclusive of
interest.

254. Relators are each private citizens with direct and independent knowledge of the
allegations of this Complaint, who have brought this action pursuant to N.M. Stat. Ann§§ 27-14-
1 et seq. on behalf of himself and the State of New Mexico.

WHEREFORE, Relators respectfully request this Court to award the following
damages to the following parties and against AZ:
To the State of New Mexico:
(1) Three times the amount of actual damages which the State of New
Mexico has sustained as a result of Defendant’s conduct;
(2) A civil penalty of not less than $5,000 and not more than $10,000 for
each false claim which Defendant caused to be presented to the State of
New Mexico;
(3) Prejudgment interest; and
(4) All costs incurred in bringing this action.
To Relators:
(1) The maximum amount allowed pursuant to N.M. Stat. Ann§§ 27-14-1
et seq, and/or any other applicable provision of law;
(2) Reimbursement for reasonable expenses which Relators incurred in
connection with this action;

(3) An award of reasonable attorney’s fees and costs; and
(4) Such further relief as this Court deems equitable and just.

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COUNT XXI
NEW YORK FALSE CLAIMS ACT
255. Relators DiMattia and Tuggle repeat and reallege each allegation contained in
paragraphs 1 through 84 above as if fully set forth herein
256. This is a qui tam action brought by Relator on behalf of the State of New York to
recover treble damages and civil penalties under the New York False Claims Act, 2007 N. Y.
Laws 58, Section 39, Article Xlll
257. Section 189 provides liability for any person who:
l.(a) knowingly presents or causes to be presented, to any employee,
officer or agent of the state or local government, a false or fraudulent
claim for payment or` approval;
1.(b) knowingly makes uses or causes to be made or used, a false
record or statement to get a false or fraudulent claim paid or approved by
the state or local government;

1. (c) conspires to defraud the State by getting a false or fraudulent claim
allowed or paid.

258. ln addition, the New York State Consolidated Laws prohibits the solicitation or
receipt of any remuneration, including any kickback, bribe or rebate, directly or indirectly,
overtly or covertly, in cash or in kind in return for furnishing any item or service for which
payment may be made in whole or in part under the New York Medicaid program.

259. AZ violated the New York State Consolidated Laws by engaging in the conduct
described herein

260. AZ furthermore violated, 2007 N.Y. Laws 58, Section 39, Article Xlll, and
knowingly caused false claims to be made, used and presented to the State of New York by its
deliberate and systematic violation of federal and state laws including the FCA, federal Anti-

Kickback Act, and the New York Vendor Fraud and Kickback statute, and by virtue of the fact

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that none of the claims submitted in connection with its conduct were even eligible for
reimbursement by the government-funded healthcare programs

261. The State of New York, by and through the New York Medicaid program and
other state healthcare programs was unaware of AZ’s conduct and paid the claims submitted by
healthcare providers and third party payers in connection therewith.

262. Compliance with applicable Medicare, Medicaid and the various other federal and
state laws cited herein was an implied, and upon information and belief, also an express
condition of payment of claims submitted to the State of New York in connection with AZ’s
conduct. Compliance with applicable New York statutes regulations and Pharmacy Manuals
was also an express condition of payment of claims submitted to the State of New York.

263. Had the State of New York known of AZ’s wrongful conduct in connection with
Nexium, it would not have paid the claims submitted by healthcare providers and third party
payers in connection with that conduct.

264. As a result of AZ’s violation of 2007 N. Y. Laws 5 8, Section 39, Article Xlll, the
State of New York has been damaged in an amount far in excess of millions of dollars exclusive
of interest.

265. Relators are each private citizens with direct and independent knowledge of the
allegations of this Complaint, who have brought this action pursuant to 2007 N. Y. Laws 58,
Section 39, Article Xlll, on behalf of himself and the State of New York,

WHEREFORE, Relators respectfully request this Court to award the following
damages to the following parties and against AZ:
To the State of New York:
(1) Three times the amount of actual damages which the State of New York

has sustained as a result of Defendant’s conduct;

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(2) A civil penalty of not less than $6,000 and not more than $12,000 for
each false claim which Defendant caused to be presented to the State of
New York;

(3) Prejudgment interest; and

(4) All costs incurred in bringing this action

To Relators:

(1) The maximum amount allowed pursuant to 2007 N. Y. Laws 58, Section
39, Article Xlll, and/or any other applicable provision of law;

(2) Reimbursement for reasonable expenses which Relators incurred in
connection with this action;

(3) An award of reasonable attorney’s fees and costs; and

(4) Such further relief as this Court deems equitable and just.

COUNT XXII
OKLAHOMA MEDICAID FALSE CLAIMS ACT

266. Relators DiMattia and Tuggle repeat and reallege each allegation contained in
paragraphs 1 through 84 above as if fully set forth herein

267. This is a. qui tam action brought by Relator on behalf of the State of Oklahoma to
recover treble damages and civil penalties under the Oklahoma Medicaid False Claims Act 63
Okl. St. §5053 (2008) et seq.

268. 63 Okl. St. § 5053.1 (2)(B) provides liability for any person who:

(1) knowingly presents or causes to be presented, to an officer or
employee of the State of Oklahoma, a false or fraudulent claim for
payment or approval;

(2) knowingly makes uses or causes to be made or used, a false
record or statement to get a false or fraudulent claim paid or
approved by the State',

(3) conspires to defraud the State by getting a false or fraudulent claim
allowed or paid.

269. ln addition, 56 Okl. St. § 1005 (2008) of the Oklahoma Medicaid Program
lntegrity Act prohibits the solicitation or receipt of any benefit, pecuniary benefit, or kickback in
connection with goods or services paid or claimed by a provider to be payable by the Oklahoma
Medicaid Program.

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270. AZ violated 56 Okl. St. § 1005 et seq. by engaging in the conduct described
herein

271. AZ furthermore violated 63 Okl. St. § 5053.1 et seq. and knowingly caused false
claims to be made, used and presented to the State of Oklahoma by its deliberate and systematic
violation of federal and state laws including the FCA, federal Anti-Kickback Act, and the
Oklahoma Medicaid Program lntegrity Act and Kickback Statute, and by virtue of the fact that
none of the claims submitted in connection with its conduct were even eligible for
reimbursement by the government-funded healthcare programs

272. The State of Oklahoma, by and through the Oklahoma Medicaid program and
other state healthcare programs was unaware of AZ’s conduct and paid the claims submitted by
healthcare providers and third party payers in connection therewith.

273. Compliance with applicable Medicare, Medicaid and the various other federal and
state laws cited herein was an implied, and upon information and belief, also an express
condition of payment of claims submitted to the State of Oklahoma in connection with AZ’s
conduct. Compliance with applicable Oklahoma statutes regulations and Pharmacy Manuals
was also an express condition of payment of claims submitted to the State of Oklahoma.

274. Had the State of Oklahoma known of AZ’s wrongful conduct in connection with
Nexium, it would not have paid the claims submitted by healthcare providers and third party
payers in connection with that conduct.

275. As a result of AZ’s violation of 63 Okl. St. § 5053.1 et seq., the State of
Oklahoma has been damaged in an amount far in excess of millions of dollars exclusive of

interest.

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276. Relators are each private citizens with direct and independent knowledge of the
allegations of this Complaint, who has brought this action pursuant to 63 Okl. St. § 5053.1 et seq.
on behalf of himself and the State of Oklahoma.

WHEREFORE, Relators respectfully request this Court to award the following
damages to the following parties and against AZ:
To the State of Oklahoma:

(1) Three times the amount of actual damages which the State of Oklahoma
has sustained as a result of Defendant’s conduct;

(2) A civil penalty of not less than $5,000 and not more than $10,000 for
each false claim which Defendant caused to be presented to the State of
Oklahoma;

(3) Prejudgment interest; and

(4) All costs incurred in bringing this action

To Relators:

(1) The maximum amount allowed pursuant to 63 Okl. St. § 5053.1 et seq.
and/or any other applicable provision of law;

(2) Reimbursement for reasonable expenses which Relators incurred in
connection with this action;

(3) An award of reasonable attorney’s fees and costs and

(4) Such further relief as this Court deems equitable and just.

COUNT XXIII
RHODE ISLAND STATE FALSE CLAIMS ACT

277. Relators DiMattia and Tuggle repeat and reallege each allegation contained in
paragraphs 1 through 84 above as if fully set forth herein,

278. This is a qui tam action brought by Relator on behalf of the State of Rhode lsland
to recover treble damages and civil penalties under the Rhode lsland State False Claims Act R.l.

Gen. Laws §9-1.1-1 (2008) et seq.

279. R.l. Gen. Laws § 9-1.1-3 provides liability for any person who:

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(1) knowingly presents or causes to be presented, to an officer or
employee of the State or a member of the Guard a false or
fraudulent claim for payment or approval;

(2) knowingly makes uses or causes to be made or used, a false
record or statement to get a false or fraudulent claim paid or
approved by the State;

(3) conspires to defraud the State by getting a false or fraudulent claim
allowed or paid.

280. ln addition, R.l. Gen. Laws § 40-8.2-3(2)(i) prohibits the solicitation, receipt,
offer or payment of any remuneration, including any kickback, bribe, or rebate, directly or
indirectly, overtly or covertly, in cash or in kind in return for furnishing any item or service for
which payment may be made in whole or in part under the Rhode lsland Medicaid program.

281. AZ violated R.l. Gen. Laws § 40-8.2-3 et seq. by engaging in the conduct
described herein

282. AZ furthermore violated R.l. Gen. Laws § 9-1.1-1 and knowingly caused false
claims to be made, used and presented to the State of Rhode lsland by its deliberate and
systematic violation of federal and state laws including the FCA, federal Anti-Kickback Act,
and the Rhode lsland General Laws and Kickback statute, and by virtue of the fact that none of
the claims submitted in connection with its conduct were even eligible for reimbursement by the
government-funded healthcare programs

283. The State of Rhode lsland, by and through the Rhode lsland Medicaid program
and other state healthcare programs was unaware of AZ’s conduct and paid the claims submitted
by healthcare providers and third party payers in connection therewith.

284. Compliance with applicable Medicare, Medicaid and the various other federal and
state laws cited herein was an implied, and upon information and belief, also an express

condition of payment of claims submitted to the State of Rhode lsland in connection with AZ’s

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conduct. Compliance with applicable Rhode lsland statutes regulations and Pharmacy Manuals
was also an express condition of payment of claims submitted to the State of Rhode lsland.

285. Had the State of Rhode lsland known of AZ’s wrongful conduct in connection
with Nexium, it would not have paid the claims submitted by healthcare providers and third party
payers in connection with that conduct.

286. As a result of AZ’s violation of R.l. Gen. Laws §9-1.1-1, the State of Rhode
lsland has been damaged in an amount far in excess of millions of dollars exclusive of interest.

287. Relators are each private citizens with direct and independent knowledge of the
allegations of this Complaint, who has brought this action pursuant to R.I. Gen, Laws §9-1.1-1 et
seq. on behalf of himself and the State of Rhode lsland.

WHEREFORE, Relators respectfully request this Court to award the following
damages to the following parties and against AZ:
To the State of Rhode lsland:
(1) Three times the amount of actual damages which the State of Rhode
lsland has sustained as a result of Defendant’s conduct;
(2) A civil penalty of not less than $5,000 and not more than $10,000 for
each false claim which Defendant caused to be presented to the State of
Rhode lsland;
(3) Prejudgment interest; and
(4) All costs incurred in bringing this action
To Relators:
(1) The maximum amount allowed pursuant to R.l, Gen. Laws §9-1.1-4(d)
and/or any other applicable provision of law;
(2) Reimbursement for reasonable expenses which Relators incurred in
connection with this action;

(3) An award of reasonable attorney’s fees and costs and
(4) Such further relief as this Court deems equitable and just.

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MLX_XL
TENNESSEE FALSE CLAIMS ACT

288 . Relators DiMattia and Tuggle repeat and reallege each allegation contained in
paragraphs 1 through 84 above as if fully set forth herein

289. This is a qui tam action brought by Relator on behalf of the State of Tennessee to
recover treble damages and civil penalties under the Tennessee False Claims Act, Tenn. Code
Ann. § 4-18-101 et seq. and Tennessee Medicaid False Claims Act, Tenn. Code Ann. § 71-5-181
et seq.

290. § 4-18-103(a) provides liability for any person who-

(1) Knowingly presents or causes to be presented to an officer or
employee of the State..., a false claim for payment or approval;

(2) Knowingly makes uses or causes to be made or used, a false
record or statement to get a false claim paid or approved by the State or by
any political subdivision;

(3) Conspires to defraud the state or any political subdivision by
getting a claim allowed or paid by the state of by any political subdivision

§ 71-5-182(a)(1) provides liability for any person who-

(A) presents or causes to be presented to the state, a claim for payment
under the Medicaid program knowing such claim is false or fraudulent;
(B) makes or uses or causes to be made or used, a record or statement
to get a false or fraudulent claim under the Medicaid program paid for or
approved by the state knowing such record or statement is false;

(C) conspires to defraud the State by getting a claim allowed or paid
under the Medicaid program knowing such claim is false or fraudulent.

291. AZ violated Tenn. Code Ann. § 4-18-103(a) and § 71-5-1 82(a)(1) and knowingly
caused false claims to be made, used and presented to the State of Tennessee by its deliberate
and systematic violation of federal and state laws including the FCA and Anti-Kickback Act,
and by virtue of the fact that none of the claims submitted in connection with its conduct were

even eligible for reimbursement by the government-funded healthcare programs

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292. The State of Tennessee, by and through the Tennessee Medicaid program and
other state healthcare programs was unaware of AZ’s conduct and paid the claims submitted by
healthcare providers and third party payers in connection therewith.

293. Compliance with applicable Medicare, Medicaid and the various other federal and
state laws cited herein was an implied, and upon information and belief, also an express
condition of payment of claims submitted to the State of Tennessee in connection with AZ’s
conduct. Compliance with applicable Tennessee statutes regulations and Pharmacy Manuals
was also an express condition of payment of claims submitted to the State of Tennessee.

294. Had the State of Tennessee known of AZ’s wrongful conduct in connection with
Nexium, it would not have paid the claims submitted by healthcare providers and third party
payers in connection with that conduct.

295. As a result of AZ’s violation of Term. Code Ann. § 4-18-103(a) and § 71-5-
182(a)(1), the State of Tennessee has been damaged in an amount far in excess of millions of
dollars exclusive of interest.

296. Relators are each private citizens with direct and independent knowledge of the
allegations of this Complaint, who has brought this action pursuant to Tenn. Code Ann. § 4-18 -
103 (a) and § 71-5-183(a)(1) on behalf of himself and the State of Tennessee.

WHEREFORE, Relators respectfully request this Court to award the following
damages to the following parties and against AZ:
To the State of Tennessee:
(1) Three times the amount of actual damages which the State of Tennessee
has sustained as a result of Defendant’s conduct;
(2) A civil penalty of not less than $2,500 and not more than $10,000 for
each false claim which Defendant caused to be presented to the State of

Tennessee;
(3) Prejudgment interest; and

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297.

(4)

To Relators:

(1)
(2)

(3)
(4)

All costs incurred in bringing this action

The maximum amount allowed pursuant to Tenn. Code Ann. § 71 -5-183
(c) and/or any other applicable provision of law;

Reimbursement for reasonable expenses which Relators incurred in
connection with this action;

An award of reasonable attorney’s fees and costs; and

Such further relief as this Court deems equitable and just.

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TEXAS MEDICAID FRAUD PREVENTION LAW

Relators DiMattia and Tuggle repeat and reallege each allegation contained in

paragraphs 1 through 84 above as if fully set forth herein

298.

This is a qui tam action brought by Relator on behalf of the State of Texas to

recover double damages and civil penalties under Tex. Hum. Res. Code § 36.001 et seq.

299.

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Tex. Hum. Res Code § 36.002 provides liability for any person who-

(1)
(a)

(b)
(2)

(4)

knowingly or intentionally makes or causes to be made a false
statement or misrepresentation of a material fact:
on an application for a contract, benefit, or payment under the
Medicaid program; or
that is intended to be used to determine its eligibility for a benefit
knowingly or intentionally concealing or failing to disclose an
event:
(A) that the person knows affects the initial or continued right
to a benefit or payment under the Medicaid program of.
(i) the person, or
(ii) another person on whose behalf the person has
applied for a benefit or payment or is receiving a benefit or
payment; and
(B) to permit a person to receive a benefit or payment that is
not authorized or that is greater than the payment or benefit that is

authorized;
* * *

knowingly or intentionally makes causes to be made, induces or

seeks to induce the making of a false statement or misrepresentation of
material fact concerning:

***

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(B) information required to be provided by a federal or state law, rule,
regulation, or provider agreement pertaining to the Medicaid program;

(5) knowingly or intentionally charges solicits accepts or receives
in addition to an amount paid under the Medicaid program, a gift, money,
a donation, or other consideration as a condition to the provision of a
service or continued service to a Medicaid recipient if the cost of the
service provided to the Medicaid recipient is paid for, in whole or in part,
under the Medicaid program.

300. AZ violated Tex. Hum. Res. Code § 36.002 and knowingly caused false claims to
be made, used and presented to the State of Texas by its deliberate and systematic violation of
federal and state laws including the FCA, federal Anti-kickback Act and § 36.002, and by virtue
of the fact that none of the claims submitted in connection with its conduct were even eligible for
reimbursement by the government-funded healthcare programs

301. The State of Texas by and through the Texas Medicaid program and other state
healthcare programs was unaware of AZ’s conduct and paid the claims submitted by healthcare
providers and third party payers in connection therewith.

302. Compliance with applicable Medicare, Medicaid and the various other federal and
state laws cited herein was an implied, and upon information and belief, also an express
condition of payment of claims submitted to the State of Texas in connection with AZ’s conduct.
Compliance with applicable Texas statutes regulations and Pharmacy Manuals was also an
express condition of payment of claims submitted to the State of Texas.

303. Had the State of Texas known of AZ’s wrongful conduct in connection with
Nexium, it would not have paid the claims submitted by healthcare providers and third party
payers in connection with that conduct.

304. As a result of AZ’s violation of Tex. Hum. Res. Code § 36.002, the State of Texas

has been damaged in an amount far in excess of millions of dollars exclusive of interest.

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305. AZ did not, within 30 days after it first obtained information as to such violation,
furnish such information to officials of the State responsible for investigating false claims
violation, did not otherwise fully cooperate with any investigation of the violation, and have not
otherwise furnished information to the State regarding the claims for reimbursement at issue.

306. Relators are each private citizens with direct and independent knowledge of the
allegations of this Complaint, who has brought this action pursuant to Tex. Hum. Res. Code
§ 36.101 on behalf of himself and the State of Texas.

WHEREFORE, Relators respectfully request this Court to award the following
damages to the following parties and against AZ:
To the State of Texas:
(1) Two times the amount of actual damages which the State of Texas has
sustained as a result of Defendant’s conduct;
(2) A civil penalty of not less than $5,000 or more than $ 15,000 pursuant to
Tex. Hum.. Res. Code § 36.025(a)(3) for each false claim which
Defendant cause to be presented to the state of Texas;
(3) Prejudgment interest; and
(4) All costs incurred in bringing this action
To Relators:
(1) The maximum amount allowed pursuant to Tex. Hum. Res. Code §36.110,
and/or any other applicable provision of law;
(2) Reimbursement for reasonable expenses Which Relators incurred in
connection with this action;
(3) An award of reasonable attorney’s fees and costs; and
(4) Such further relief as this Court deems equitable and just.
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WISCONSIN FALSE CLAIMS FOR MEDICAL ASSISTANCE ACT

307. Relators DiMattia and Tuggle repeat and reallege each allegation contained in

paragraphs 1 through 84 above as if fully set forth herein

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308. This is a qui tam action brought by Relator on behalf of the State of Wisconsin to
recover treble damages and civil penalties under the Wisconsin False Claims for Medical
Assistance Law, Wis. Stat. § 20.931 et seq.

309. Wis. Stat. § 20.931 (2) provides liability for any person who:

(a) Knowingly presents or causes to be presented to any officer,
employee, or agent of this state a false claim for medical
assistance.

(b) Knowingly makes uses or causes to be made or used a false
record or statement to obtain approval or payment of a false claim
for medical assistance.

(c) conspires to defraud this State by obtaining allowance or payment
of claim for medical assistance, or by knowingly making or using,
or causing to be made or used, a false record or statement to
conceal, avoid, or decrease an obligation to pay or transmit money

or property to the Medical Assistance Program;
* * *

(g) knowingly makes uses or causes to be made or used a false record
or statement to conceal, avoid, or decrease any obligation to pay or
transmit money or property to the Medical Assistance Program.

310. ln addition, Wis. Stat. § 49.49(2) of the Wisconsin Public Assistance Code
prohibits the solicitation or receipt of any remuneration, including any kickback, bribe or rebate,
directly or indirectly, overtly or covertly, in cash or in kind in return for furnishing any item or
service for which payment may be made in whole or in part under the Wisconsin Medicaid
program.

311. AZ violated Wis. Stat. § 49.49(2) by engaging in the conduct described herein

312. AZ furthermore violated Wis. Stat. § 20.931 et seq. and knowingly caused false
claims to be made, used and presented to the State of Wisconsin by its deliberate and systematic
violation of federal and state laws including the FCA, federal Anti-Kickback Act, and the
Wisconsin Public Assistance Code and Kickback statute, and by virtue of the fact that none of
the claims submitted in connection with its conduct were even eligible for reimbursement by the

government-funded healthcare programs

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313. The State of Wisconsin, by and through the Wisconsin Medicaid program and
other state healthcare programs was unaware of AZ’s conduct and paid the claims submitted by
healthcare providers and third party payers in connection therewith.

314. Compliance with applicable Medicare, Medicaid and the various other federal and
state laws cited herein was an implied, and upon information and belief, also an express
condition of payment of claims submitted to the State of Wisconsin in connection with AZ’s
conduct. Compliance with applicable Wisconsin statutes regulations and Pharmacy Manuals
was also an express condition of payment of claims submitted to the State of Wisconsin

315. Had the State of Wisconsin known of AZ’s wrongful conduct in connection with
Nexium, it would not have paid the claims submitted by healthcare providers and third party
payers in connection with that conduct.

316. As a result of AZ’s violation of Wis. Stat. § 20.931 et seq. , the State of
Wisconsin has been damaged in an amount far in excess of millions of dollars exclusive of
interest.

317. Relators are each private citizens with direct and independent knowledge of the
allegations of this Complaint, who has brought this action pursuant to Wis. Stat. § 20.931 et seq.
on behalf of himself and the State of Wisconsin

WHEREFORE, Relators respectfully request this Court to award the following
damages to the following parties and against AZ:
To the State of Wisconsin:
(1) Three times the amount of actual damages which the State of Wisconsin
has sustained as a result of Defendant’s conduct;
(2) A civil penalty of not less than $5,000 and not more than $10,000 for each
false claim which Defendant caused to be presented to the State of Wisconsin;

(3) Prejudgment interest; and
(4) All costs incurred in bringing this action

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To Relators:

(1) The maximum amount allowed pursuant to Wis. Stat. § 20.931 and/or any
other applicable provision of law;

(2) Reimbursement for reasonable expenses which Relators incurred in
connection with this action

(3) An award of reasonable attorney’s fees and costs; and

(4) Such further relief as this Court deems equitable and just.

COUNT XXVII
MASSACHUSETTS FALSE CLAIMS ACT

318. Relators DiMattia and Tuggle repeat and reallege each allegation contained in
paragraphs 1 through 84 above as if fully set forth herein

319. This is a qui tam action brought by Relator on behalf of the Commonwealth of
Massachusetts for treble damages and penalties under Massachusetts False Claims Act, Mass.
Gen. Laws Chap. 12 § 5(A) et seq.

320. Mass. Gen. Laws Chap. 12 § 5B provides liability for any person who-

(1) knowingly presents or causes to be presented, a false or fraudulent
claim for payment or approval;

(2) knowingly makes uses or causes to be made or used, a false
record or statement to obtain payment or approval of a claim by the
commonwealth or

(3) conspires to defraud the commonwealth or any political
subdivision thereof through the allowance or payment of a fraudulent
claim;

***

(9) is a beneficiary of an inadvertent submission of a false claim . to
the commonwealth or political subdivision thereof, subsequently
discovers the falsity of the claim, and fails to disclose the false claim to
the commonwealth or political subdivision within a reasonable time after
discovery of the false claim shall be liable to the commonwealth or
political subdivision

321. ln addition, Mass. Gen. Laws Chap. 118E § 41 prohibits the solicitation, receipt

or offering of any remuneration, including any bribe or rebate, directly or indirectly, overtly or

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covertly, in cash or in kind in return for furnishing any good, service or item for which payment
may be made in whole or in part under the Massachusetts Medicaid program.

322. AZ violated Mass. Gen. Laws Chap. 118E § 41 by engaging in the conduct
described herein

323. AZ furthermore violated Mass. Gen. Laws Chap. 12 § 5B and knowingly caused
false claims to be made, used and presented to the Commonwealth of Massachusetts by its
deliberate and systematic violation of federal and state laws including the FCA, federal Anti-
Kickback Act, Mass. Gen. Law Chap. 118E § 41 and by virtue of the fact that none of the claims
submitted in connection with its conduct were even eligible for reimbursement by the
government-funded healthcare programs

324. The Commonwealth of Massachusetts, by and through the Massachusetts
Medicaid program and other state healthcare programs was unaware of AZ’s conduct and paid
the claims submitted by healthcare providers and third party payers in connection therewith.

325. Compliance with applicable Medicare, Medicaid and the various other federal and
state laws cited herein was an implied, and upon information and belief; also an express
condition of payment of claims submitted to the Commonwealth of Massachusetts in connection
with AZ’s conduct. Compliance with applicable Massachusetts statutes regulations and
Pharmacy Manuals was also an express condition of payment of claims submitted to the
Commonwealth of Massachusetts

326. Had the Commonwealth of Massachusetts known of AZ’s wrongful conduct in
connection with Nexium, it would not have paid the claims submitted by healthcare providers

and third party payers in connection with that conduct.

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327. As a result of AZ’s violation of Mass. Gen. Laws'Chap. 12 § 5B, the
Commonwealth of Massachusetts has been damaged in an amount far in excess of millions of
dollars exclusive of interest.

328. Relators are each private citizens with direct and independent knowledge of the
allegations of this Complaint, who has brought this action pursuant to Mass. Gen. Laws Chap. 12
§ 5(c)(2) on behalf of himself and the Commonwealth of Massachusetts.

WHEREFORE, Relators respectfully request this Court to award the following
damages to the following parties and against AZ:
To the Commonwealth of Massachusetts

(1) Three times the amount of actual damages which the Commonwealth of
Massachusetts has sustained as a result of Defendant’s conduct;

(2) A civil penalty of not less than $5,000 and not more than $10,000 for
each false claim which Defendant caused to be presented to the
Commonwealth of Massachusetts

(3) Prejudgment interest; and

(4) All costs incurred in bringing this action

To Relators:

(1) The maximum amount allowed pursuant to Mass. Gen. Laws Chap. 12,
§5F and/or any other applicable provision of law;

(2) Reimbursement for reasonable expenses which Relators incurred in
connection with this action;

(3) An award of reasonable attorney’s fees and costs and

(4) Such further relief as this Court deems equitable and just.

COUNT XXVIII
VIRGINIA FRAUD AGAINST TAXPAYERS ACT

329. Relators DiMattia and Tuggle repeat and reallege each allegation contained in

paragraphs 1 through 84 above as if fully set forth herein

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330. This is a qui tam action brought by Relator on behalf of the Commonwealth of
Virginia for treble damages and penalties under Va. Code Ann. § 8.01-216.3a provides liability
for any person who:

l. Knowingly presents or causes to be presented, to an officer or
employee of the Commonwealth a false or fraudulent claim for payment
or approval;

2. Knowingly makes uses or causes to be made or used, a false
record or statement to get a false or fraudulent claim paid or approved by
the Commonwealth;

3. Conspires to defraud the Commonwealth by getting a false or
fraudulent claim allowed or paid.

331. ln addition, Va. Code Ann. § 32.1 -315 prohibits the solicitation, receipt or
offering of any remuneration, including any bribe or rebate, directly or indirectly, overtly or
covertly, in cash or in kind in return for furnishing any good, service or item for which payment
may be made in whole or in part under the Virginia Medicaid program.

332. AZ violated Va. Code Ann. §32.1-3 15 by engaging in the conduct described
herein,

333. AZ furthermore violated Va. Code Ann. §§8.01-216.3a and knowingly caused
false claims to be made, used and presented to the Commonwealth of Virginia by its deliberate
and systematic violation of federal and state laws including the FCA, federal Anti-Kickback
Act, VA Code Ann. §32. 1-315 and by virtue of the fact that none of the claims submitted in
connection with its conduct were even eligible for reimbursement by the government-funded
healthcare programs

334. The Commonwealth of Virginia, by and through the Virginia Medicaid program
and other state healthcare programs was unaware of AZ’s conduct and paid the claims submitted

by healthcare providers and third party payers in connection therewith.

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335. Compliance with applicable Medicare, Medicaid and the various other federal and
state laws cited herein was an implied, and upon information and belief; also an express
condition of payment of claims submitted to the Commonwealth of Virginia in connection with
AZ’s conduct. Compliance with applicable Virginia statutes regulations and Pharmacy Manuals
was also an express condition of payment of claims submitted to the Commonwealth of Virginia.

336. Had the Commonwealth of Virginia known of AZ’s wrongful conduct in
connection with Nexium, it would not have paid the claims submitted by healthcare providers
and third party payers in connection with that conduct.

337. As a result of AZ’s violation of Va. Code Ann. §8.01-216.3(a), the
Commonwealth of Virginia has been damaged in an amount far in excess of millions of dollars
exclusive of interest.

338. Relators are each private citizens with direct and independent knowledge of the
allegations of this Complaint, who has brought this action pursuant to Va. Code Ann. § 8.01-
216.5 on behalf of himself and the Commonwealth of Virginia.

WHEREFORE, Relators respectfully request this Court to award the following
damages to the following parties and against AZ:
To the Commonwealth of Virginia:

(1) Three times the amount of actual damages which the Commonwealth of
Virginia has sustained as a result of Defendant’s conduct;

(2) A civil penalty of not less than $5,500 and not more than $11,000 for
each false claim which Defendant caused to be presented to the
Commonwealth of Virginia;

(3) Prejudgment interest; and

(4) All costs incurred in bringing this action

To Relators:
(1) The maximum amount allowed pursuant to Va. Code Ann. § 8.01-216.7

and/or any other applicable provision of law;

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(2) Reimbursement for reasonable expenses which Relators incurred in
connection with this action;

(3) An award of reasonable attorney’s fees and costs; and

(4) Such further relief as this Court deems equitable and just.

COUNT XXIX
DISTRICT OF COLUMBIA PROCUREMENT REFORM AMENDMENT ACT

339. Relators DiMattia and Tuggle repeat and reallege each allegation contained in
paragraphs 1 through 84 above as if fully set forth herein

340. This is a qui tam action brought by Relator and the District of Columbia to
recover treble damages and civil penalties under the District of Columbia Procurement Reform
Amendment Act, D.C. Code § 2-308.13 et seq.

341. D.C. Code § 2-308.14(a) provides liability for any person who-

(1) knowingly presents or causes to be presented, to an officer or
employee of the District a false claim for payment or approval;

(2) knowingly makes uses, or causes to: be made or used, a false
record or statement to get a false claim paid or approved by the District;
(3) conspires to defraud the District by getting a false claim allowed or
paid by the District;

***

(8) is the beneficiary of an inadvertent submission of a false claim to the
District, subsequently discovers the falsity of the claim, and fails to
disclose the false claim to the District.

342. In addition, D.C. Code § 4-802(c) prohibits soliciting, accepting, or agreeing to
accept any type of remuneration for the following:

(1) Referring a recipient to a particular provider of any item or service
or for which payment may be made under the District of Columbia
Medicaid program, or

(2) Recommending the purchase, lease, or order of any good, facility,
service, or item for which payment may be made under the District
of Columbia Medicaid Program.

343. AZ violated D.C. Code § 4-802(c) by engaging in the illegal conduct described

herein AZ furthermore violated D.C. Code § 2-308.14(a) and knowingly caused thousands of

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false claims to be made, used and presented to the District of Columbia by its deliberate and
systematic violation of federal and state laws including the FCA, federal Anti-Kickback Act
D.C. Code § 4-802(0), and by virtue of the fact that none of the claims submitted in connection
with its illegal conduct were even eligible for reimbursement by the government-funded
healthcare programs

344. The District of Columbia, by and through the District of Columbia Medicaid
program and other state healthcare programs was unaware of AZ’s illegal conduct and paid the
claims submitted by healthcare providers and third party payers in connection therewith.

345. Compliance with applicable Medicare, Medicaid and the various other federal and
state laws cited herein was an implied, and upon information and belief; also an express
condition of payment of claims submitted to the District of Columbia in connection with AZ’s
illegal conduct. Compliance with applicable D.C. statutes regulations and Pharmacy Manuals
was also an express condition of payment of claims submitted to the District of Columbia.

346. Had the District of Columbia known of AZ’s wrongful conduct in connection
with Nexium, it would not have paid the claims submitted by healthcare providers and third party
payers in connection with that conduct.

347. As a result of AZ’s violation ofD.C. Code § 2-308,14(a) the District of Columbia
has been damaged in an amount far in excess of millions of dollars exclusive of interest.

348. Relators are each private citizens with direct and independent knowledge of the
allegations of this Complaint, who has brought this action pursuant to D.C. Code § 2-308.15(b)

on behalf of himself and the District of Columbia.

WHEREFORE, Relators respectfully request this Court to award the following

damages to the following parties and against AZ:

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To the District of Columbia:

(1) Three times the amount of actual damages which the District of Columbia
has sustained as a result of Defendant’s illegal conduct;

(2) A civil penalty of not less than $5,000 and not more than $10,000 for
each false claim which Defendant caused to be presented to the District
of Columbia;

(3) Prejudgment interest; and
(4) All costs incurred in bringing this action

To Relators:

(1) The maximum amount allowed pursuant to D.C. Code § 2-308.15(f)
and/or any other applicable provision of law;

(2) Reimbursement for reasonable expenses which Relators incurred in
connection with this action;
(3) An award of reasonable attorney’s fees and costs and

(4) Such further relief as this Court deems equitable and just.
COUNT XXX
CONNECTICUT FALSE CLAIMS ACT

349. Relators DiMattia and Tuggle repeat and reallege each allegation contained in
paragraphs 1 through 84 above as if fully set forth herein

350. This is a qui tam action brought by Relator and the State of Connecticut to
recover treble damages and civil penalties under the Connecticut Medical Assistance Program
False Claims Act, § l7b-301a et. seq. (the “Act”).

351. The Act provides liability for any person who (1) knowingly presents or causes to
be presented a false or fraudulent claim for payment or approval under the medical assistance
programs administered by the Department of Social Services‘, (2) knowingly makes uses or
causes to be made or used a false record or statement to secure the payment or approval by the
state of a false or fraudulent claim under medical assistance programs administered by the

Department of Social Services; (3) conspires to defraud the state by securing the allowance or

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payment of a false or fraudulent claim under medical assistance programs administered by the
Department of Social Services.

352. AZ violated Conn. Code § 17b-301b by engaging in the illegal conduct described
herein and by virtue of the fact that none of the claims submitted in connection with its illegal
conduct were even eligible for reimbursement by the Government Health Care Programs.

353. ln addition, Conn. Code § 53a-161d, prohibits knowingly offering or paying any
benefit with intent to influence such person for the furnishing of any goods facilities or services
for which a claim for benefits or reimbursement has been filed with a local state or federal
agency.

354. AZ violated Conn. Code § 53a-161d by engaging in the conduct described herein,

355. AZ furthermore violated Conn. Code § 17b-301b and knowingly caused false
claims to be made, used and presented to the State of Connecticut by its deliberate and
systematic violation of federal and state laws including the FCA, federal Anti-Kickback Act,
Conn. Code § 53a-161d and by virtue of the fact that none of the claims submitted in connection
with its conduct were even eligible for reimbursement by the Government Health Care Pro grams

356. Connecticut, by and through the Connecticut Medicaid program and other state
healthcare programs was unaware of AZ’s illegal conduct and paid the claims submitted by
healthcare providers and third party payers in connection therewith.

357. Compliance with applicable Medicare, Medicaid and the various other federal and
state laws cited herein was an implied, and upon information and belief, also an express
condition of payment of claims submitted to Connecticut in connection with AZ’s illegal
conduct. Compliance with applicable Connecticut statutes regulations and Pharmacy Manuals

was also an express condition for payment of claims submitted to Connecticut.

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358 . Had the State of Connecticut known of AZ’s wrongful conduct in connection with
Nexium, it would not have paid the claims submitted by healthcare providers and third party
payers in connection with that conduct.

359. As a result of AZ’s violation of Conn. Code § 17b-301b, Connecticut has been
damaged in an amount far in excess of millions of dollars exclusive of interest.

360. Relator are each private citizens with direct and independent knowledge of the
allegations in this Complaint, who has brought this action pursuant to Connecticut Code § 17b-
301d on behalf of himself and the State of Connecticut.

WHEREFGRE, Relators respectfully request this Court to award the following
damages to the following parties and against AZ:
To Connecticut:

(1) Three times the amount of actual damages which Connecticut has
sustained as a result of Defendant’s illegal conduct;

(2) A civil penalty of not less than $5,000 and not more than $10,000 for
each false claim which Defendant caused to be presented to Connecticut;

(3) Prejudgment interest; and
(4) All costs incurred in bringing this action

To Relators:

(1) The maximum amount allowed pursuant to Conn. Code § l7b-301e
and/or any other applicable provision of law;

(2) Reimbursement for reasonable expenses which Relators incurred in
connection with this action;
(3) An award of reasonable attorney’s fees and costs and

(4) Such further relief as this Court deems equitable and just.
COUNT XXXI
MINNESOTA FALSE CLAIMS ACT
361. Relators DiMattia and Tuggle repeat and reallege each allegation contained in

paragraphs 1 through 84 above as if fully set forth herein

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362. This is a qui tam action brought by Relator and the State of Minnesota to recover
treble damages and civil penalties under the Minnesota False Claims Act, § 15C.01 et seq. (the
“Act”).

363. The Act provides liability for any person who (1) knowingly presents or causes to
be presented, to an officer or employee of the state or a political subdivision a false or fraudulent
claim for payment or approval; (2) knowingly makes or uses, or causes to be made or used, a
false record or statement to get a false or fraudulent claim paid or approved by the state or a
political subdivision; (3) knowingly conspires to either present a false or fraudulent claim to the
state or a political subdivision for payment or approval or makes uses or causes to be made or
used a false record or statement to obtain payment or approval of a false or fraudulent claim.

364. AZ violated Minnesota Statute § 15C.02 by engaging in the illegal conduct
described herein and by virtue of the fact that none of the claims submitted in connection with its
illegal conduct were even eligible for reimbursement by the Government Health Care Programs.

365. ln addition, Minnesota Statute § 621.23 provides that the restrictions in the federal
Medicare anti-kickback statutes apply to all persons in the state.

366. AZ furthermore violated Minn Stat. § 15C.02 and knowingly caused false claims
to be made, used and presented to the State of Minnesota by its deliberate and systematic
violation of federal and State laws including the FCA, federal Anti-Kickback Act, Minn Stat.

§ 15C.02 and by virtue of the fact that none of the claims submitted in connection with its
conduct were even eligible for reimbursement by the Government Health Care Programs

367. Minnesota, by and through the Minnesota Medicaid program and other state
healthcare programs was unaware of AZ’s illegal conduct and paid the claims Submitted by

healthcare providers and third party payers in connection therewith.

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368. Compliance with applicable Medicare, Medicaid and the various other federal and
state laws cited herein was an implied, and upon information and belief, also an express
condition of payment of claims submitted to Minnesota in connection with AZ’s illegal conduct.
Compliance with applicable Minnesota statutes regulations and Pharmacy Manuals was also an
express condition of payment of claims submitted to Minnesota.

369. Had the State of Minnesota known of AZ’s wrongful conduct in connection with
Nexium, it would not have paid the claims submitted by healthcare providers and third party
payers in connection with that conduct.

370. As a result of AZ’s violation of Minn Stat. § 15C.02, Minnesota has been
damaged in an amount far in excess of millions of dollars exclusive of interest.

371. Relator are each private citizens with direct and independent knowledge of the
allegations of this Complaint, who has brought this action pursuant to Minn. Stat § 15C.05 on
behalf of himself and the State of Minnesota.

WHEREFORE, Relators respectfully request this Court to award the following
damages to the following parties and against AZ:
To Minnesota:

(1) Three times the amount of actual damages which Minnesota has
sustained as a result of Defendant’s illegal conduct;

(2) A civil penalty of not less than $5,500 and not more than $11,000 for
each false claim which Defendant caused to be presented to Connecticut;

(3) Prejudgment interest; and
(4) All costs incurred in bringing this action

To Relators:

(1) The maximum amount allowed pursuant to Minn Stat. § 15C.13 and/or
any other applicable provision of law;

(2) Reimbursement for reasonable expenses which Relators incurred in
connection with this action;

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(3) An award of reasonable attorney’s fees and costs; and
(4) Such further relief as this Court deems equitable and just

COUNT XXXII
CHICAGO FALSE CLAIMS ACT
372. Relators DiMattia and Tuggle repeat and reallege each allegation contained in
paragraphs 1 through 84 above as if fully set forth herein
373. This is a qui tam action brought by Relator and the City of Chicago to recover
treble damages and civil penalties under the Chicago False Claims Act, § 1-22-010 et seq.
374. The Municipal Code of Chicago § 1-22-020 provides liability for any person who-
(a) knowingly presents or causes to be presented, to an officer or
employee of the City a false or fraudulent claim for payment or
approval;
(b) knowingly makes uses or causes to be made or used, a false
record or statement to get a false or fraudulent claim paid or
approved by the City;

(c) conspires to defraud the City by getting a false or fraudulent claim
allowed or paid by the City.

375. AZ violated the Municipal Code of Chicago § 1-22-020 and knowingly caused
thousands of false claims to be made, used and presented to the City of Chicago by its deliberate
and systematic violation of federal and state laws including the FCA, federal Anti-Kickback
Act, Municipal Code of Chicago § 1-22-020, and by virtue of the fact that none of the claims
submitted in connection with its illegal conduct were even eligible for reimbursement by the
government-funded healthcare programs

376. The City of Chicago, unaware of AZ’s illegal conduct, paid the claims submitted
by healthcare providers and third party payers in connection therewith.

377. Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and upon information and belief, also an express

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condition of payment of claims submitted to the City of Chicago in connection with AZ’s illegal
conduct. Compliance with applicable Chicago statutes and regulations was also an express
condition of payment of claims submitted to the City of Chicago.

378. Had the City of Chicago known of wrongful conduct in connection with Nexium,
it would not have paid the claims submitted by healthcare providers and third party payers in
connection with that conduct.

379. As a result of AZ’s violation of Chicago’s Municipal Code § 1-22-020, the City
of Chicago has been damaged in an amount far in excess of millions of dollars exclusive of
interest.

380. Relators are each private citizens with direct and independent knowledge of the
allegations of this Complaint, who has brought this action pursuant to the Municipal Code of
Chicago § 1~22-030 on behalf of himself and the City of Chicago.

WHEREFORE, Relators respectfully request this Court to award the following

damages to the following parties and against AZ:

To the City of Chicago:

(a) Three times the amount of actual damages which the City of Chicago has
sustained as a result of Defendant’s illegal conduct;

(b) A civil penalty of not less than $5,000 and not more than $10,000 for each
false claim which Defendant caused to be presented to the City of
Chicago;

(c) Prejudgment interest; and
(d) All costs incurred in bringing this action

To Relators:

(a) The maximum amount allowed pursuant to the Municipal Code of
Chicago § 1-22-030(d) and/or any other applicable provision of law;

(b) Reimbursement for reasonable expenses which Relators incurred in
connection with this action;

(c) An award of reasonable attorneys’ fees and costs; and

(d) Such further relief as this Court deems equitable-and just.

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COUNT XXXIII
NEW YORK CITY FALSE CLAIMS ACT

381. Relators DiMattia and Tuggle repeat and reallege each allegation contained in
paragraphs 1 through 84 above as if fully set forth herein

382. This is a qui tam action brought by Relator and the City of New York to recover
treble damages and civil penalties under the New York City False Claims Act, N.Y.
Administrative Code § 7-801 et seq.

383. N.Y. Administrative Code § 7-803 provides liability for any person who-

(a) knowingly presents or causes to be presented, to any City officer or
employee a false claim for payment or approval by the City;

(b) knowingly makes uses or causes to be made or used, a false record or
statement to get a false claim paid or approved by the City;

(c) conspires to defraud the City by getting a false claim allowed or paid by
the City.

384. AZ violated N.Y. Administrative Code § 7-803 and knowingly caused thousands
of false claims to be made, used and presented to the City of New York by its deliberate and
systematic violation of federal and state laws including the FCA, federal Anti-Kickback Act,
N.Y. Administrative Code § 7-803, and by virtue of the fact that none of the claims submitted in
connection with its illegal conduct were even eligible for reimbursement by the government-
funded healthcare programs

385. The City of New York, unaware of AZ’s illegal conduct, paid the claims
submitted by healthcare providers and third party payers in connection therewith.

386. Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and upon information and belief, also an express

condition of payment of claims submitted to the City of New York in connection with AZ’S

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illegal conduct. Compliance with applicable New York statutes and regulations was also an
express condition of payment of claims submitted to the City of New York,

387. Had the City of New York known of AZ’s wrongful conduct in connection with
Nexium, it would not have paid the claims submitted by healthcare providers and third party
payers in connection with that conduct.

388. As a result of AZ’s violation of N.Y. Administrative Code § 7-803, the City of
New York has been damaged in an amount far in excess of millions of dollars exclusive of
interest.

389. Relators are each private citizens with direct and independent knowledge of the
allegations of this Complaint, who has brought this action pursuant to N.Y. Administrative Code
§ 7-804 on behalf of himself and the City of New York.

WHEREFORE, Relators respectfully request this Court to award the following

damages to the following parties and against AZ:
To the City of New York:
(a) Three times the amount of actual damages which the City of New York
~ has sustained as a result of Defendant’s illegal conduct;

(b) A civil penalty of not less than $5,000 and not more than $l5,000 for each
false claim which Defendant caused to be presented to the City of New
York;

(c) Prejudgment interest; and
(d) All costs incurred in bringing this action

To Relators:

(a) The maximum amount allowed pursuant to N.Y. Administrative Code § 7-
804 and/or any other applicable provision of law;

(b) Reimbursement for reasonable expenses which Relators incurred in
connection with this action;

(c) An award of reasonable attorneys’ fees and costs; and

(d) Such further relief as this Court

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COUNT XXXIV
NORTH CAROLINA FALSE CLAIMS ACT

390. Relators DiMattia and Tuggle repeat and reallege each allegation contained in
paragraphs 1 through 84 above as if fully set forth herein

391. This is a qui tam action brought by Relator and the State of North Carolina to
recover treble damages and civil penalties under the North Carolina False Claims Act, N.C. Gen.
Stat. § 1-605 et seq. (the “Act”).

392. The Act provides liability for any person who (1) knowingly presents or causes to
be presented a false or fraudulent claim for payment or approval; (2) knowingly makes or uses
or causes to be made or used, a false record or statement material to a false or fraudulent claim;
(3) conspires to violate subdivisions (1) or (2) of Section 1-607.

393. AZ violated N. C. Gen. Stat. § 1-607 by engaging in the illegal conduct described
herein and by virtue of the fact that none of the claims submitted in connection with its illegal
conduct were even eligible for reimbursement by the Government Health Care Programs.

394. ln addition N.C. Gen. Stat. § 90-401 provides that no health care provider who
refers a patient of that provider to another health care provider shall receive financial or other
compensation from the health care provider receiving the referral as a payment solely or
primarily for the referral.

395. AZ violated N.C. Gen. Stat. § 90-401 by engaging in the conduct described
herein

396. AZ furthermore violated N. C. Gen. Stat. § 1-607 and knowingly caused false
claims to be made, used and presented to the State of North Carolina by its deliberate and

systematic violation of federal and state laws including the FCA, federal Anti-Kickback Act, N.

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C. Gen. Stat. § 1-607, N.C. Gen. Stat. § 90-401 and by virtue of the fact that none of the claims
submitted in connection with its conduct were even eligible for reimbursement by the
Government Health Care Programs

397. North Carolina, by and through the North Carolina Medicaid program and other
state healthcare programs was unaware of AZ’s illegal conduct and paid the claims submitted by
healthcare providers and third party payers in connection therewith.

398. Compliance with applicable Medicare, Medicaid and the various other federal and
state laws cited herein was an implied, and upon information and belief, also an express
condition of payment of claims submitted to North Carolina in connection with AZ’s illegal
conduct. Compliance with applicable North Carolina statutes regulations and Pharmacy
Manuals was also an express condition of payment of claims submitted to North Carolina,

399. Had the State of North Carolina known of wrongful conduct in connection with
Nexium, it would not have paid the claims submitted by healthcare providers and third party
payers in connection with that conduct.

400. As a result of AZ’s violation of North Carolina Gen. Stat. §1-607, North Carolina
has been damaged in an amount far in excess of millions of dollars exclusive of interest.

401. Relators are each private citizens with direct and independent knowledge of the
allegations of this Complaint, who has brought this action pursuant to N. C. Gen. Stat § 1-607 on

behalf of himself and the State of North Carolina,

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WHEREFORE, Relators respectfully request this Court to award the following

damages to the following parties and against AZ:

To North Carolina:

(a) Three times the amount of actual damages which North Carolina has
sustained as a result of Defendant’s illegal conduct;

(b) A civil penalty of not less than $5,500 and not more than $11,000 for each
false claim which Defendant caused to be presented to North Carolina;

(c) Prejudgment interest; and

(d) All costs incurred in bringing this action

To Relators:

(a)
(b)

(C)
(d)

The maximum amount allowed pursuant to N. C. Gen. Stat. § 1-610 and/or
any other applicable provision of law;

Reimbursement for reasonable expenses which Relators incurred in
connection with this action;

An award of reasonable attorney’s fees and costs; and

Such further relief as this Court deems equitable and just

COUNT XXXV

COLORADO MEDICAID FALSE CLAIMS ACT

402. Relators DiMattia and Tuggle repeat and reallege each allegation contained in

paragraphs 1 through 84 above as if fully set forth herein

403. This is a qui tam action brought by Relator and the State of Colorado to recover

treble damages and civil penalties under the Colorado Medicaid False Claims Act, C.R. S. §

25.5-4-304 et. seq. (the “Act”).

404. The Act provides liability for any person who (1) knowingly presents or causes to

be presented to an officer or employee of the state a false or fraudulent claim for payment or

approval; (2) knowingly makes uses or causes to be made or used a false record or statement

material to a false or fraudulent claim; (3) conspires to commit a violation of paragraphs (a) or

(b) Ofth@ cRs §25.5-4-305.

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405 . AZ violated CRS §25.5-4-305 by engaging in the illegal conduct described
herein and by virtue of the fact that none of the claims submitted in connection with its illegal
conduct were even eligible for reimbursement by the Government Health Care Programs.

406. ln addition, CRS § 25.5-4-305 makes it illegal to offer, solicit, receive or pay any
remuneration, including any kickback or bribe or rebate, directly or indirectly, overtly or covertly
in return for referring an individual to a person for the furnishing or arranging for the furnishing
of any item or service for which payment is to be made by the Colorado Medicaid or other health
care funds

407. AZ violated CRS § 25.5-4-305 by engaging in the illegal conduct described
herein

408. AZ furthermore violated CRS § §25.5-4-305 and knowingly caused false claims
to be made, used and presented to the State of Colorado by its deliberate and systematic violation
of federal and state laws including the FCA, federal Anti-Kickback Act, and by virtue of the fact
that none of the claims submitted in connection with its conduct were even eligible for
reimbursement by the Government Health Care Programs

409. Colorado, by and through the Colorado Medicaid program and other state
healthcare programs was unaware of AZ’s illegal conduct and paid the claims submitted by
healthcare providers and third party payers in connection therewith.

410. Compliance with applicable Medicare, Medicaid and the various other federal and
state laws cited herein was an implied, and upon information and belief, also an express
condition of payment of claims submitted to Colorado in connection with AZ’s illegal conduct.
Compliance with applicable Colorado statutes regulations and Pharmacy Manuals was also an

express condition for payment of claims submitted to Colorado.

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411. Had the State of Colorado known of AZ’s wrongful conduct in connection with
Nexium, it would not have paid the claims submitted by healthcare providers and third party
payers in connection with that conduct.

412. As a result of AZ’s violation of CRS § §25.5-4-305, Colorado has been damaged
in an amount far in excess of millions of dollars exclusive of interest.

413. Relators are each private citizens with direct and independent knowledge of the
allegations in this Complaint, who has brought this action pursuant to CRS §25.5-4-306 on
behalf of himself and the State of Colorado.

WHEREFORE, Relators respectfully request this Court to award the following

damages to the following parties and against AZ:

To Colorado:

(a) Three times the amount of actual damages which Colorado has sustained
as a result of Defendant’s illegal conduct;

(b) A civil penalty of not less than $5,000 and not more than $10,000 for each
false claim which Defendant caused to be presented to Connecticut;

(c) Prejudgment interest; and

(d) All costs incurred in bringing this action

To Relators:

(a) The maximum amount allowed pursuant to CRS § 25.5-4-306 and/or any

§ other applicable provision of law;

(b) Reimbursement for reasonable expenses which Relators incurred in

connection with this action;

(c) An award of reasonable attorney’s fees and costs and
(d) Such further relief as this Court deems equitable and just.

COUNT XXXVI
MARYLAND FALSE HEALTH CLAIMS ACT
414. Relators DiMattia and Tuggle repeat and reallege each allegation contained in

paragraphs 1 through 84 above as if fully set forth herein,

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415. This is a qui tam action brought by Relator and the State of Maryland to recover
treble damages and civil penalties under the Maryland False Health Claims Act, Md. Health-
General Code § 2-601 et. seq. (the “Act”).

416. The Act provides liability for any person who (1) knowingly presents or causes to
be presented a false or fraudulent claim for payment or approval; (2) knowingly makes uses or
causes to be made or used a false record or statement material to a false or fraudulent claim; (3)
conspires to commit such a violation

417. AZ violated Md. Health-General Code § 2-602 by engaging in the illegal conduct
described herein and by virtue of the fact that none of the claims submitted in connection with its
illegal conduct were even eligible for reimbursement by the Government Health Care Programs.

418. ln addition Md. Criminal Code § 8-511 makes it illegal to solicit, offer, make, or
receive a kickback or bribe in connection with providing items or services under a State health
plan or making or receiving a benefit or payment under a State health plan.

419. AZ violated Md. Criminal Code § 8-511 by engaging in the illegal conduct
described herein

420. AZ furthermore violated Md. Health-General Code § 2-602 and knowingly
caused false claims to be made, used and presented to the State of Maryland by its deliberate and
systematic violation of federal and state laws including the FCA, federal Anti-Kickback Act,
and by virtue of the fact that none of the claims submitted in connection with its conduct were
even eligible for reimbursement by the Government Health Care Programs

421. Maryland, by and through the Maryland Medicaid program and other state
healthcare programs was unaware of AZ’s illegal conduct and paid the claims submitted by

healthcare providers and third party payers in connection therewith.

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422. Compliance with applicable Medicare, Medicaid and the various other federal and
state laws cited herein was an implied, and upon information and belief, also an express
condition of payment of claims submitted to Maryland in connection with AZ’s illegal conduct.
Compliance with applicable Maryland statutes regulations and Pharmacy Manuals was also an
express condition for payment of claims submitted to Maryland.

423. Had the State of Maryland known of AZ’s wrongful conduct in connection with
Nexium, it would not have paid the claims submitted by healthcare providers and third party
payers in connection with that conduct.

424. As a result of AZ’s violation of, Md. Health-General Code § 2-602, Maryland has
been damaged in an amount far in excess of millions of dollars exclusive of interest.

425. Relators are each private citizens with direct and independent knowledge of the
allegations in this Complaint, who has brought this action pursuant to Md. Health-General Code
§ 2-604 on behalf of himself and the State of Maryland.

WHEREFORE, Relators respectfully request this Court to award the following
damages to the following parties and against AZ:
To Maryland:
(a) Three times the amount of actual damages which Maryland has sustained
as a result of Defendant’s illegal conduct;
(b) A civil penalty of not more than $10,000 for each false claim which
Defendant caused to be presented to Maryland;

(c) Prejudgment interest; and
(d) All costs incurred in bringing this action

To Relators:

(a) The maximum amount allowed pursuant to Md. Health-General Code § 2-
605 and/or any other applicable provision of law;

(b) Reimbursement for reasonable expenses which Relators incurred in
connection with this action;

(c) An award of reasonable attorney’s fees and costs; and

(d) Such further relief as this Court deems equitable and just.

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RETALIATION AND VIOLATION OF DELAWARE
FALSE CLAIMS AND REPORTING ACT § 1208

426. Relator Tuggle repeats and realleges paragraphs 1 through 84 of this Complaint as
if fully set forth herein

427. At all times material hereto, AZ was an employer covered by 6 Del. C. §1208.
Section 1208 precludes discharge, demotion suspension or discrimination against employees
who investigate, provide testimony or assistance in any action filed or to be filed under the
Delaware False Claims and Reporting Act, 6 Del. C. § 1201 et seq..

428. Relator Tuggle’s discharge as set forth above was in violation of 6 Del. C. § 1208.

429. As a direct and proximate result of the retaliation harassment, threats and
discharge by AZ, Relator Tuggle suffered and incurred and continues to suffer and incur
substantial loss of past and future eamings; compensation and other benefits and monies; harm
and damage to Relator’s professional reputation and credibility by being wrongfully discharged
in violation of public policy and with the false implication and statements to employees
prospective employers and others in the community that Relator Tuggle was terminated for
reasons unrelated to the aforementioned refusal to acquiesce and the potential to disclose, AZ’s
illegal and fraudulent conduct as set forth herein

430. AZ’s conduct was malicious fraudulent and oppressive and in violation of public
policy and a violation of 6 Del. C. § 1208.

WHEREFORE, Relator Tuggle requests that judgment be entered against

Defendant in his favor and that he be awarded any and all relief pursuant to 6 Del. C. § 1208

including, but not limited to:

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Two times the amount of back pay;

Interest on back pay;

Any and all other compensatory and special damages
All litigation and reasonable attorney’s fees

Punitive damages and

Any such further relief that this Court deems appropriate.

DUANE MORRIS LLP

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Attomeys for Plaintiffs/Relators

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4 Quarters (1Q08 - ZQOB)
($Ms) Gross Sales Discount BP Impact Gross Marqin

Prilosec 40mg @ 55% $21.6 $12.1 ($0.2) , $4.4
4 Quarters (1008 - ZQOB)
($Ms) Gross Sa|es Discount BP |mpact Gross Marqin

Plendil @ 48% $16.8 $812 ($0.1) $6.9

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4 Quarters (1008 - ZQOB)

 

($Ms) Proposed Current incremental
Prilosec 40mg @ 55% $12.1 $0.0
Plendil @ 48% $8.2 $0.0

 

ToTAL l $20.3 | $o.o f $20.3 l

 

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MEDCO MA|L ORDER PURCHASE D|SCOUNT
Prilosec 40mg & P|endil

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

$M's

PROPOSED DEAL PR|LOSEC PLENDIL Total contract
ToTAL GROSS SALES $21.6 $16.8 $38.4
ToTAL DiSCOuNTS $ ($12.1) ($8_2) ($20.3)
ToTAL NET SALES $9.5 $8.6 $18.1
ToTAL \/SE/COGS ($1.7) ($1.5) ($3_1)
ToTAL PROMPT PAY 2% ($0.2) ($0.2) ($0.4)
ToTAL MERCK ROYALTY ($3.0) $0.0 ($3_0)
BEST PR|CE iMPAcT ($0_2) ($0.1) ($0.3)
ToTAL GROSS MARG|N $4.4 $6.9 $11.3

NO DEAL PR|LOSEC PLEND|L Total Contract
ToTAL GROSS SALES $6.4 $0.0 $6_4
ToTAL D\SCOuNTS $ $0.0 $0.0 $0.0
ToTAL NET SALES $6.4 $0.0 $6.4
ToTAL vSE/cOGS ($0.5) $0_0 ($0_5)
ToTAL MERCK ROYALTY ($2_0) $0_0 ($2.0)
ToTAL GROSS MARG|N $3.9 $0.0 $3_9

lel DEAL vs cuRRENT DEAL $0.5 $6.9
BREAKEVEN DEAL PR|LOSEC PLENDu_ ` Total contract |
ToTAL GROSS SALES $7.3 $0.0 $7,3
ToTAL DiscouNTS $ $0.0 $0_0 $0.0
ToTAL NET SALES $7.3 $0_0 $7.3
ToTAL vSE/cOGS ($0.6) $0.0 ($0.6)
ToTAL MERCK ROYALTY ($2.3) $0.0 ($2.3)
ToTAL GROSS MARG|N $4.4 $0.0 $4_4

lel DEAL vs BREAKEVEN ($0.0) $6.9 $6.9

NO DEAL ASSUMPTIONS

 

PLENDIL - Medco is no longer purchasing, therefore, sales are $O

BREAKEVEN ASSUMP TIONS

PR/LOSEC - maintain 0.4% Market Share (down from current 1.2%) and maintain 35% of Gross Sa/es

Medco Other Pr'\\osecP\endi\120307

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PR|LOSEC 40mg - MEDCO Mail Order Only Purchase Discount

 

 

 

 

ASSUMPT|ONS
Term: 1/1/08 -12/31/08
Purchase Discount 55.9%
Prompt Pay 2.0%
VSE/COGS 7,8% Gross Sa|es
Merck Roya|ty 31 .5% Net Sa|es
NMS 20 2007 1.03%
PR|LOSEC |V|S 20 2007 1.2%
GROSS SALES - QUARTER $5,399,549
REBATE - 0UARTER $2,537,788
REBATE % - 0UARTER 47.00%
NET SALES - QUARTER $2,861,761
PLAN MARKET SlZE - 0UARTER $457,588,908
PLAN IV|ARKET S|ZE - YEAR $1,830,355,634

 

 

 

Total Contract

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PROPosED DEAL 10 2008 20 2008 30 2008 40 2008 Period
PRiLosEC MARKET sHARE % 1.2% 1.2% 1.2% 1.2%
PR|LOSEC GROss sALEs $5,399,549 $5,399,549 $5,399,549 $5,399,549 $21,598,196
DisCOUNT % 55.90% 55.90% 55.90% 55.90% 55.90%
DisCOUNT ($3,018,348) ($3,018,348) ($3,018,348) ($3,018,348) ($12,073,3§)
NET sALEs $2,381,201 $2,381,201 $2,381,201 $2,381,201 $9,524,805
Prompt Pay 2% ($47,824) ($47,624) ($47,624) ($47,624) ($190,496)
st/Coes ($421,185) ($421,165) ($421,185) ($421,165) ($1,684,659)
Merck Roya|ty ($750,078) ($750,078) ($750,078) ($750,078) ($3,000,313)
Best Price impact (69`865) (66,394) (58,473) (53,311) ($248,0§)
GRoss MARG|N $1!092,469 $1,095,940 $1,103,881 $1,109,023 $4,401,293
No DEAL 10 2008 20 2008 30 2008 40 2008 T°t:;;rg'a°t
PR|LOSEC MARKET sHARE % 0.4% 0_4% 0.4% 0.4%
PR|LOSEC GRoss sALEs $1,601,561 $1,601,561 $1‘601‘561 $1,601,561 $8,406,245
REBATE % 0% 0% 0% 0% 0%
REBATE $0 $0 $0 $0 $0
NET sALEs 81,801,561 $1,601,581 $1,801,581 $1,801,581 $6,408,245
st/Coes ($124,922) ($124,922) ($124,922) ($124,922) ($499,687)
wieer Roya|ty §504,492) ($504,492) ($504,492) ($504,492) ($2,017,987)
GRoss MARGIN $972,148 $972,148 $972,148 $972,148 $31888,591

GM DEAL vs cuRRENT DEAL 10 2008 20 2008 30 2008 40 2008 T°t:e(:;';:'a°t

CUMULATIVE $120,321 $244,114 $375,827 $512,702 $512@
BREAKEVEN DEAL 10 2008 20 2008 30 2008 40 2008 T°t:e(:;':'act
PRiLosEC MARKET sHARE % 0.4% 0.4% 0.4% 0.4%
PR|LOSEC GROss sALEs $1,799,784 $1,805,502 $1,818,552 $1,827,056 $7,250,895
REBATE % 0% 0% 0% 0% 0%
REBATE $0 $0 $0 $0 $0
NET sALEs $1,799,784 $1,805,502 $1,818,552 $1,827,058 $7,250,895
st/COGS ($140,383) ($140,829) ($141,847) ($142,510) ($565,570)
Merck Royaity ($586,9321 ($588,733) ($572,844) ($575,523) ($2,284,032)
GRoss MARG|N $1,092,489 $1,095,940 81 103 861 $1,109,023 $A¢t01,293
GM DEAL vs BREAKEVEN 10 2008 20 2008 30 2008 40 2008 T°t;'e(:i‘;':'a°t

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PLEND|L - MEDCO Mail Order Only Purchase Discount

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AssuMPTtoNs

Tcrm; 1/1/08 - 12/31/08
Purchase Discount 49.0% Suppiy constraints
Prompt Pay 2.0%

WsE/cocs 17.0% th sales ]
NMS 20 2007 0.00%
GROss sALEs - QuARTER 34,200,000
REBATE - QUARTER 30
REBATE % - QUARTER 0.00%
NET sALEs - QuARTER 34,200,000
PROPosED DEAL 10 2008 20 2008 30 2008 40 2008 T°t";‘,'ec:;':'a°t
PLEND|L GROss sALEs 34,200,000 34,200,000 34,200,000 34,200,000 318,800,000
DiscOuNT % 49.04% 49.04% 49.04% 49_04% 49.04%
DiscouNT (32,059,880) <32,059,680> <32,059,680) (32,059,880) (38,238,720)
NET sALEs 32,140,320 32,140,320 $2,140,320 $2,140,320 $8,561,280
Prcmpt Pay 2% (342,806) (342,806) ’(342,806) (342,806) (3171,228)
st/cOGs (3363,854) (3363,854) (3363,854) (3363,854) (31,455,418)
sect Pricc impact (16,888) (14,816) (20,372) (20,002) (371,858)
GRoss MARG|N 31 ,716,991 31 ,7@843 31,713,287 31 ,713,658 $6,862,779
No/cuRRENT DEAL 10 2008 20 2008 30 2008 40 2008 T°t‘:ec:;';:'a°t
PLEND\L GRoss sALEs 30 30 30 30 30
REBATE % 0% 0% 0% 0% 0%
REBATE 30 30 30 30 30
NET sALEs 30 30 30 30 $o
st/cOGs 30 30 30 30 30
cRoss MARth 30 30 30 30 30

GM DEAL vs N DEAL 10 2008 20 2008 30 2008 40 2008 T°t:e(:i‘;':'a°t

cUMULATlvE 31,716,991 33,435,834 35,149,122 38,882,779 Q,sez,'ns

 

Medco Other PrilosecP|endi|120307

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Case 1

 

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D.iMattia, Pau|

From: Robinson, Kimberly

Sent: Friday, January 18, 2008 12:47 PN|

To: DiMattia, Paul

Subject: FW: Need Approva|: ES| 2009 Part D contract for Zomig

Paul,

Marion approved it.. long story but in short we never want to make reference to the Part D

bid impacting the commercial bid in an email. My bad, but in this case the customer makes
it very clear about this link.. we just need to always look at them separate, which legal

always advises us to do and be less communicative in our messaging. Perhaps next time she
will feel comfortable calling me directly.. .

Kim

----- Original Message-----

From: Groth, Joseph

Sent: Thursday, January l7, 2008 3:15 PM

To: Eller, Barbara E; Robinson, Kimberly

Subject: FW: Need Approval: ESI 2009 Part D contract for Zomig

----- Original Message-----

From: McCourt, Marion

Sent: Thursday, January l7, 2008 2:43 PM

To: Groth, Joseph

Subject: Re: Need Approval: ESI 2009 Part D contract for Zomig

Approve, thx JOe

----- Original Message ---~~

From: Groth, Joseph

To: McCourt, Marion

Cc: Shaughnessy, Robert J; Robinson, Kimberly; Graham, Ken (Marketing Sales)
Sent: Thu Jan 17 14:40:08 2008

Subject: RE: Need Approval: ESI 2009 Part D contract for Zomig

Marion,

Thanks for the opportunity to discuss this Zomig bid and your concerns about the comment

below (#2) that references ESI's commercial business. lt is our policy to develop
Medicare Part D contract offers exclusive of issues that are pertinent to the customer's
commercial business. That said, many Part D Plans, including ESl, have actively

communicated to AstraZeneca that they intend to align their Part D and Commercial
formularies to achieve internal efficiencies which is the Origin of the comment below.

This Bid was in fact developed based on opportunity that exists for Zomig in ESI Part D
Plans. My discussion with Bob Shaughnessy confirmed that you should approve or reject
this Bid based on your assessment of the product opportunity in ESI Part D Plans. As you
know, Kim is relatively new to her role and l have followed up with her to clarify our
policies for making contract offers to Medicare Plans. If you have any additional
questions or concerns please don't hesitate to call my mobile phone (215-901-7873).

Joe

~~~~~ Original Message----~

From: McCourt, Marion

Sent: Wednesday, January 16, 2008 l:34 PM
To: Groth, Joseph

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Subject: FW: Need Approval: ESI 2009 Part D contract for Zomig
pls give me a quick call when you get a chance
thx., most likely on cell

Marion

----- Original Message-~~--

From: Robinson, Kimberly

Sent: Wednesday, January 16, 2008 1202 PM

To: McCourt, Marion

Cc: Robinson, Kimberly; DiMattia, Paul

Subject: Need Approval: ESI 2009 Part D contract for Zomig
Marion,

The ESI 2009 Part D contract for Zomig is up for bid. Given ESI's unique process
whereby all brands will bid at the same time for the grid format and we are looking to
submit approvals for CARP review by 1/18/08. Attached is a slide deck explaining our
opportunities for Zomig with ESI.

Two important facts to consider:

1.)The Part D lives at ESI are dropping from 1.8MM to 650K thousand for 2009 due to
employer retiree lives that have shifted from Part D back to ESI commercial.

2.)The custom plans at ESI represent most of the remaining Part D lives and they
expect to have similar formularies in Part D as they do in commercial. Therefore, a NO
bid could cause them to take Zomig off on the Commercial side of the business.

3.)WAC Sales are approx. 600K for Zomig on Part D side

4.) Expectation is to offer 2nd tier only (same as last year)

5.) We are not bidding for TXL or Atacand for 2009

Lastly, Here are the MS trends for the past year:

lQ07 2Q07 3QO7 4QO7 Dec07

Imitrex 59 61 61 62 62
Maxalt 16 14 14 15 15

z@mig 14 12 12 11 10

Relpax 7 7 7 6 6

l believe that while the lives will be changing in this segment, it still offers up
an opportunity for Zomig share. We have not discussed a new strategy for Part D for
Zomig, however there are opportunities with larger PBMs like ESI to grow share across the
nation. At this point we are on par with NMS for Zomig at this account.

Below are the approvals from ALT:
<< File: Approve Approval Needed ESI Part D Zomig Dimattia.rtf >> << File:
Approve Approval Needed ESI Part D Zomig Streck.rtf >>

Kim
<< File: ESI PSG Update for MASCO 2009 CD versionl.ppt >>

Kimberly A. Robinson, MS, MBA

MM Brand Strategy/Contracting Director
Azenity /Merrem Products

AstraZeneca Pharmaceuticals
302~885-4898 VM 54898

610-306-0925 Mobile

